         Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 1 of 41



Week        Day     Area              District             First-Class Marketing Mail
  10/3/2020         Nation                                      88.76%         91.36%
 10/10/2020         Nation                                      88.75%         89.54%
 10/17/2020         Nation                                      83.26%         88.58%

  10/3/2020         CAPITAL METRO                             84.41%          87.41%
  10/3/2020         EASTERN                                   86.42%          89.90%
  10/3/2020         GREAT LAKES                               86.59%          84.84%
  10/3/2020         NORTHEAST                                 90.87%          92.63%
  10/3/2020         PACIFIC                                   92.63%          96.33%
  10/3/2020         SOUTHERN                                  88.62%          92.38%
  10/3/2020         WESTERN                                   90.96%          93.89%
 10/10/2020         CAPITAL METRO                             84.27%          85.10%
 10/10/2020         EASTERN                                   85.79%          88.18%
 10/10/2020         GREAT LAKES                               86.69%          84.93%
 10/10/2020         NORTHEAST                                 90.79%          91.65%
 10/10/2020         PACIFIC                                   93.49%          95.63%
 10/10/2020         SOUTHERN                                  89.00%          90.48%
 10/10/2020         WESTERN                                   90.78%          89.98%
 10/17/2020         CAPITAL METRO                             75.89%          77.56%
 10/17/2020         EASTERN                                   78.23%          83.42%
 10/17/2020         GREAT LAKES                               82.91%          87.86%
 10/17/2020         NORTHEAST                                 87.83%          93.71%
 10/17/2020         PACIFIC                                   89.11%          96.06%
 10/17/2020         SOUTHERN                                  84.10%          90.57%
 10/17/2020         WESTERN                                   85.10%          89.47%

  10/3/2020         CAPITAL METRO     ATLANTA                 85.46%          78.32%
  10/3/2020         CAPITAL METRO     BALTIMORE               76.64%          85.07%
  10/3/2020         CAPITAL METRO     CAPITAL                 77.63%          90.31%
  10/3/2020         CAPITAL METRO     GREATER S CAROLINA      85.37%          92.42%
  10/3/2020         CAPITAL METRO     GREENSBORO              81.97%          86.95%
  10/3/2020         CAPITAL METRO     MID-CAROLINAS           88.38%          90.06%
  10/3/2020         CAPITAL METRO     NORTHERN VIRGINIA       84.47%          94.78%
  10/3/2020         CAPITAL METRO     RICHMOND                87.17%          90.87%
  10/3/2020         EASTERN           APPALACHIAN             83.68%          94.45%
                                      CENTRAL
  10/3/2020         EASTERN           PENNSYLVANIA            85.33%          90.88%
  10/3/2020         EASTERN           KENTUCKIANA             86.27%          95.40%
  10/3/2020         EASTERN           NORTHERN OHIO           86.94%          89.54%
  10/3/2020         EASTERN           OHIO VALLEY             85.68%          85.69%
                                      PHILADELPHIA
  10/3/2020         EASTERN           METROPO                 82.01%          77.37%
  10/3/2020         EASTERN           SOUTH JERSEY            83.04%          88.26%
  10/3/2020         EASTERN           TENNESSEE               88.46%          92.25%
  10/3/2020         EASTERN           WESTERN NEW YORK        92.42%          94.74%
       Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 2 of 41


                                    WESTERN
10/3/2020         EASTERN           PENNSYLVANIA         91.84%       96.97%
10/3/2020         GREAT LAKES       CENTRAL ILLINOIS     83.99%       77.45%
10/3/2020         GREAT LAKES       CHICAGO              85.81%       92.10%
10/3/2020         GREAT LAKES       DETROIT              75.47%       70.53%
10/3/2020         GREAT LAKES       GATEWAY              89.60%       89.28%
10/3/2020         GREAT LAKES       GREATER INDIANA      92.11%       92.59%
10/3/2020         GREAT LAKES       GREATER MICHIGAN     89.52%       91.58%
10/3/2020         GREAT LAKES       LAKELAND             87.33%       90.75%
10/3/2020         NORTHEAST         ALBANY               91.45%       89.77%
10/3/2020         NORTHEAST         CARIBBEAN            95.31%       78.28%
10/3/2020         NORTHEAST         CONNECTICUT VALLEY   91.72%       94.58%
10/3/2020         NORTHEAST         GREATER BOSTON       92.11%       92.13%
10/3/2020         NORTHEAST         LONG ISLAND          86.64%       94.77%
10/3/2020         NORTHEAST         NEW YORK             90.20%       96.93%
                                    NORTHERN NEW
10/3/2020         NORTHEAST         ENGLAND              90.15%       89.13%
                                    NORTHERN NEW
10/3/2020         NORTHEAST         JERSEY               91.86%       93.36%
10/3/2020         NORTHEAST         TRIBORO              90.74%       92.67%
10/3/2020         NORTHEAST         WESTCHESTER          88.69%       91.61%
10/3/2020         PACIFIC           BAY-VALLEY           94.15%       92.92%
10/3/2020         PACIFIC           HONOLULU             90.16%       83.96%
10/3/2020         PACIFIC           LOS ANGELES          93.04%       96.54%
10/3/2020         PACIFIC           SACRAMENTO           91.88%       95.41%
10/3/2020         PACIFIC           SAN DIEGO            92.78%       97.07%
10/3/2020         PACIFIC           SAN FRANCISCO        94.20%       96.17%
10/3/2020         PACIFIC           SANTA ANA            92.07%       97.96%
10/3/2020         PACIFIC           SIERRA COASTAL       92.47%       98.11%
10/3/2020         SOUTHERN          ALABAMA              83.23%       85.58%
10/3/2020         SOUTHERN          ARKANSAS             92.32%       94.91%
10/3/2020         SOUTHERN          DALLAS               89.57%       95.29%
10/3/2020         SOUTHERN          FT WORTH             92.44%       94.84%
10/3/2020         SOUTHERN          GULF ATLANTIC        84.59%       90.09%
10/3/2020         SOUTHERN          HOUSTON              88.45%       96.89%
10/3/2020         SOUTHERN          LOUISIANA            91.52%       93.60%
10/3/2020         SOUTHERN          MISSISSIPPI          80.94%       87.18%
10/3/2020         SOUTHERN          OKLAHOMA             93.03%       95.74%
10/3/2020         SOUTHERN          RIO GRANDE           91.94%       96.75%
10/3/2020         SOUTHERN          SOUTH FLORIDA        86.16%       88.78%
10/3/2020         SOUTHERN          SUNCOAST             89.89%       90.16%
10/3/2020         WESTERN           ALASKA               93.05%       96.41%
10/3/2020         WESTERN           ARIZONA              90.54%       94.56%
10/3/2020         WESTERN           CENTRAL PLAINS       94.40%       95.08%
10/3/2020         WESTERN           COLORADO/WYOMIN      85.94%       91.15%
10/3/2020         WESTERN           DAKOTAS              93.71%       94.80%
10/3/2020         WESTERN           HAWKEYE              90.47%       92.36%
        Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 3 of 41


 10/3/2020         WESTERN           MID-AMERICA          87.78%       86.29%
 10/3/2020         WESTERN           NEVADA SIERRA        92.57%       95.59%
 10/3/2020         WESTERN           NORTHLAND            87.43%       95.04%
 10/3/2020         WESTERN           PORTLAND             91.85%       95.59%
 10/3/2020         WESTERN           SALT LAKE CITY       93.30%       94.40%
 10/3/2020         WESTERN           SEATTLE              91.04%       97.21%
10/10/2020         CAPITAL METRO     ATLANTA              86.26%       69.34%
10/10/2020         CAPITAL METRO     BALTIMORE            69.23%       78.45%
10/10/2020         CAPITAL METRO     CAPITAL              82.94%       92.42%
10/10/2020         CAPITAL METRO     GREATER S CAROLINA   83.77%       92.00%
10/10/2020         CAPITAL METRO     GREENSBORO           83.06%       85.62%
10/10/2020         CAPITAL METRO     MID-CAROLINAS        87.83%       93.45%
10/10/2020         CAPITAL METRO     NORTHERN VIRGINIA    87.72%       94.38%
10/10/2020         CAPITAL METRO     RICHMOND             88.47%       88.62%
10/10/2020         EASTERN           APPALACHIAN          89.10%       94.15%
                                     CENTRAL
10/10/2020         EASTERN           PENNSYLVANIA         81.62%       92.22%
10/10/2020         EASTERN           KENTUCKIANA          88.95%       95.98%
10/10/2020         EASTERN           NORTHERN OHIO        81.28%       74.68%
10/10/2020         EASTERN           OHIO VALLEY          85.33%       89.11%
                                     PHILADELPHIA
10/10/2020         EASTERN           METROPO              80.64%       75.11%
10/10/2020         EASTERN           SOUTH JERSEY         86.65%       86.21%
10/10/2020         EASTERN           TENNESSEE            90.23%       91.35%
10/10/2020         EASTERN           WESTERN NEW YORK     92.83%       94.09%
                                     WESTERN
10/10/2020         EASTERN           PENNSYLVANIA         89.68%       95.59%
10/10/2020         GREAT LAKES       CENTRAL ILLINOIS     82.78%       84.55%
10/10/2020         GREAT LAKES       CHICAGO              88.89%       91.80%
10/10/2020         GREAT LAKES       DETROIT              76.67%       67.84%
10/10/2020         GREAT LAKES       GATEWAY              90.52%       91.82%
10/10/2020         GREAT LAKES       GREATER INDIANA      91.85%       91.90%
10/10/2020         GREAT LAKES       GREATER MICHIGAN     88.24%       89.61%
10/10/2020         GREAT LAKES       LAKELAND             88.22%       90.42%
10/10/2020         NORTHEAST         ALBANY               89.78%       91.22%
10/10/2020         NORTHEAST         CARIBBEAN            97.32%       88.89%
10/10/2020         NORTHEAST         CONNECTICUT VALLEY   89.65%       93.85%
10/10/2020         NORTHEAST         GREATER BOSTON       91.99%       90.89%
10/10/2020         NORTHEAST         LONG ISLAND          86.32%       94.24%
10/10/2020         NORTHEAST         NEW YORK             91.12%       96.11%
                                     NORTHERN NEW
10/10/2020         NORTHEAST         ENGLAND              90.92%       88.38%
                                     NORTHERN NEW
10/10/2020         NORTHEAST         JERSEY               92.01%       90.40%
10/10/2020         NORTHEAST         TRIBORO              92.50%       92.28%
10/10/2020         NORTHEAST         WESTCHESTER          89.47%       90.54%
10/10/2020         PACIFIC           BAY-VALLEY           94.55%       92.88%
        Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 4 of 41


10/10/2020         PACIFIC           HONOLULU             86.21%       74.01%
10/10/2020         PACIFIC           LOS ANGELES          93.09%       96.12%
10/10/2020         PACIFIC           SACRAMENTO           93.30%       93.91%
10/10/2020         PACIFIC           SAN DIEGO            93.60%       96.28%
10/10/2020         PACIFIC           SAN FRANCISCO        93.55%       96.21%
10/10/2020         PACIFIC           SANTA ANA            94.48%       97.53%
10/10/2020         PACIFIC           SIERRA COASTAL       94.15%       97.61%
10/10/2020         SOUTHERN          ALABAMA              82.49%       73.22%
10/10/2020         SOUTHERN          ARKANSAS             92.20%       94.89%
10/10/2020         SOUTHERN          DALLAS               88.44%       95.31%
10/10/2020         SOUTHERN          FT WORTH             91.71%       95.65%
10/10/2020         SOUTHERN          GULF ATLANTIC        85.65%       88.25%
10/10/2020         SOUTHERN          HOUSTON              91.83%       95.70%
10/10/2020         SOUTHERN          LOUISIANA            89.59%       92.34%
10/10/2020         SOUTHERN          MISSISSIPPI          80.36%       84.05%
10/10/2020         SOUTHERN          OKLAHOMA             94.68%       95.17%
10/10/2020         SOUTHERN          RIO GRANDE           92.93%       96.60%
10/10/2020         SOUTHERN          SOUTH FLORIDA        87.15%       82.12%
10/10/2020         SOUTHERN          SUNCOAST             89.48%       91.02%
10/10/2020         WESTERN           ALASKA               91.18%       96.55%
10/10/2020         WESTERN           ARIZONA              88.75%       80.28%
10/10/2020         WESTERN           CENTRAL PLAINS       95.15%       95.56%
10/10/2020         WESTERN           COLORADO/WYOMIN      80.84%       84.97%
10/10/2020         WESTERN           DAKOTAS              93.63%       94.39%
10/10/2020         WESTERN           HAWKEYE              90.68%       89.12%
10/10/2020         WESTERN           MID-AMERICA          87.11%       91.29%
10/10/2020         WESTERN           NEVADA SIERRA        93.14%       95.69%
10/10/2020         WESTERN           NORTHLAND            88.45%       90.90%
10/10/2020         WESTERN           PORTLAND             92.94%       95.50%
10/10/2020         WESTERN           SALT LAKE CITY       91.86%       90.86%
10/10/2020         WESTERN           SEATTLE              91.94%       96.00%
10/17/2020         CAPITAL METRO     ATLANTA              81.78%       60.34%
10/17/2020         CAPITAL METRO     BALTIMORE            56.20%       78.53%
10/17/2020         CAPITAL METRO     CAPITAL              70.53%       94.17%
10/17/2020         CAPITAL METRO     GREATER S CAROLINA   74.70%       88.30%
10/17/2020         CAPITAL METRO     GREENSBORO           65.04%       60.68%
10/17/2020         CAPITAL METRO     MID-CAROLINAS        82.93%       86.95%
10/17/2020         CAPITAL METRO     NORTHERN VIRGINIA    80.16%       93.61%
10/17/2020         CAPITAL METRO     RICHMOND             83.46%       90.53%
10/17/2020         EASTERN           APPALACHIAN          85.35%       94.89%
                                     CENTRAL
10/17/2020         EASTERN           PENNSYLVANIA         70.29%       71.46%
10/17/2020         EASTERN           KENTUCKIANA          84.41%       94.22%
10/17/2020         EASTERN           NORTHERN OHIO        78.38%       69.59%
10/17/2020         EASTERN           OHIO VALLEY          78.96%       84.48%
                                     PHILADELPHIA
10/17/2020         EASTERN           METROPO              61.90%       65.69%
        Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 5 of 41


10/17/2020         EASTERN           SOUTH JERSEY         75.40%       90.20%
10/17/2020         EASTERN           TENNESSEE            84.78%       90.82%
10/17/2020         EASTERN           WESTERN NEW YORK     88.71%       91.76%
                                     WESTERN
10/17/2020         EASTERN           PENNSYLVANIA         85.41%       95.81%
10/17/2020         GREAT LAKES       CENTRAL ILLINOIS     80.34%       84.54%
10/17/2020         GREAT LAKES       CHICAGO              83.80%       89.19%
10/17/2020         GREAT LAKES       DETROIT              68.45%       77.56%
10/17/2020         GREAT LAKES       GATEWAY              85.58%       90.72%
10/17/2020         GREAT LAKES       GREATER INDIANA      90.48%       92.67%
10/17/2020         GREAT LAKES       GREATER MICHIGAN     84.47%       91.42%
10/17/2020         GREAT LAKES       LAKELAND             85.34%       94.04%
10/17/2020         NORTHEAST         ALBANY               88.50%       96.39%
10/17/2020         NORTHEAST         CARIBBEAN            94.74%       80.85%
10/17/2020         NORTHEAST         CONNECTICUT VALLEY   88.23%       95.40%
10/17/2020         NORTHEAST         GREATER BOSTON       87.55%       92.47%
10/17/2020         NORTHEAST         LONG ISLAND          86.11%       93.73%
10/17/2020         NORTHEAST         NEW YORK             86.13%       97.09%
                                     NORTHERN NEW
10/17/2020         NORTHEAST         ENGLAND              87.01%       94.68%
                                     NORTHERN NEW
10/17/2020         NORTHEAST         JERSEY               88.04%       92.18%
10/17/2020         NORTHEAST         TRIBORO              89.14%       92.75%
10/17/2020         NORTHEAST         WESTCHESTER          86.96%       90.93%
10/17/2020         PACIFIC           BAY-VALLEY           87.07%       95.94%
10/17/2020         PACIFIC           HONOLULU             88.61%       79.38%
10/17/2020         PACIFIC           LOS ANGELES          91.42%       96.32%
10/17/2020         PACIFIC           SACRAMENTO           89.64%       93.66%
10/17/2020         PACIFIC           SAN DIEGO            90.07%       95.34%
10/17/2020         PACIFIC           SAN FRANCISCO        87.30%       97.06%
10/17/2020         PACIFIC           SANTA ANA            88.68%       97.93%
10/17/2020         PACIFIC           SIERRA COASTAL       87.40%       97.18%
10/17/2020         SOUTHERN          ALABAMA              79.51%       84.54%
10/17/2020         SOUTHERN          ARKANSAS             89.38%       93.24%
10/17/2020         SOUTHERN          DALLAS               86.12%       93.65%
10/17/2020         SOUTHERN          FT WORTH             85.18%       88.49%
10/17/2020         SOUTHERN          GULF ATLANTIC        77.73%       88.12%
10/17/2020         SOUTHERN          HOUSTON              86.50%       94.84%
10/17/2020         SOUTHERN          LOUISIANA            87.48%       89.46%
10/17/2020         SOUTHERN          MISSISSIPPI          75.18%       87.36%
10/17/2020         SOUTHERN          OKLAHOMA             90.76%       95.39%
10/17/2020         SOUTHERN          RIO GRANDE           87.06%       91.18%
10/17/2020         SOUTHERN          SOUTH FLORIDA        80.81%       90.12%
10/17/2020         SOUTHERN          SUNCOAST             84.00%       89.64%
10/17/2020         WESTERN           ALASKA               86.22%       96.22%
10/17/2020         WESTERN           ARIZONA              83.22%       85.13%
10/17/2020         WESTERN           CENTRAL PLAINS       90.22%       93.41%
        Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 6 of 41


10/17/2020                WESTERN         COLORADO/WYOMIN   74.34%     71.48%
10/17/2020                WESTERN         DAKOTAS           90.16%     94.12%
10/17/2020                WESTERN         HAWKEYE           87.55%     93.98%
10/17/2020                WESTERN         MID-AMERICA       84.49%     87.38%
10/17/2020                WESTERN         NEVADA SIERRA     87.50%     96.32%
10/17/2020                WESTERN         NORTHLAND         82.61%     91.02%
10/17/2020                WESTERN         PORTLAND          84.75%     94.08%
10/17/2020                WESTERN         SALT LAKE CITY    88.84%     93.88%
10/17/2020                WESTERN         SEATTLE           82.02%     93.85%
              10/3/2020   Nation                            91.17%     92.75%
              10/5/2020   Nation                            92.00%     92.01%
              10/6/2020   Nation                            69.58%     93.61%
              10/7/2020   Nation                            85.33%     90.90%
              10/8/2020   Nation                            92.64%     89.46%
              10/9/2020   Nation                            89.03%     88.97%
             10/10/2020   Nation                            87.71%     89.14%
             10/13/2020   Nation                            90.54%     90.25%
             10/14/2020   Nation                            62.43%     87.88%
             10/15/2020   Nation                            92.28%     87.57%
             10/16/2020   Nation                            92.89%     93.14%
             10/17/2020   Nation                            85.15%     88.29%
             10/19/2020   Nation                            87.69%     88.14%
             10/20/2020   Nation                            60.13%     91.31%
             10/21/2020   Nation                            74.68%     88.66%
             10/22/2020   Nation                            88.25%     88.14%
             10/23/2020   Nation                            87.87%     86.60%
             10/24/2020   Nation                            86.15%     89.01%
             10/26/2020   Nation                            88.61%     87.85%
             10/27/2020   Nation                            64.47%     89.55%
             10/28/2020   Nation                            83.95%     86.66%

              10/3/2020   CAPITAL METRO                     88.41%     88.38%
              10/3/2020   EASTERN                           88.62%     89.74%
              10/3/2020   GREAT LAKES                       90.09%     90.37%
              10/3/2020   NORTHEAST                         92.21%     94.21%
              10/3/2020   PACIFIC                           95.05%     97.11%
              10/3/2020   SOUTHERN                          90.62%     93.80%
              10/3/2020   WESTERN                           93.11%     94.06%
              10/5/2020   CAPITAL METRO                     88.28%     89.86%
              10/5/2020   EASTERN                           90.41%     92.01%
              10/5/2020   GREAT LAKES                       90.73%     83.54%
              10/5/2020   NORTHEAST                         93.48%     92.78%
              10/5/2020   PACIFIC                           95.48%     96.30%
              10/5/2020   SOUTHERN                          91.96%     93.46%
              10/5/2020   WESTERN                           93.27%     93.93%
              10/6/2020   CAPITAL METRO                     60.07%     92.85%
              10/6/2020   EASTERN                           62.46%     92.84%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 7 of 41


   10/6/2020   GREAT LAKES                        60.72%       87.88%
   10/6/2020   NORTHEAST                          73.84%       94.88%
   10/6/2020   PACIFIC                            79.54%       96.50%
   10/6/2020   SOUTHERN                           70.22%       94.52%
   10/6/2020   WESTERN                            75.80%       94.88%
   10/7/2020   CAPITAL METRO                      76.99%       84.59%
   10/7/2020   EASTERN                            82.59%       91.29%
   10/7/2020   GREAT LAKES                        80.81%       82.75%
   10/7/2020   NORTHEAST                          90.01%       92.42%
   10/7/2020   PACIFIC                            89.63%       96.58%
   10/7/2020   SOUTHERN                           84.95%       91.49%
   10/7/2020   WESTERN                            89.12%       94.39%
   10/8/2020   CAPITAL METRO                      88.68%       83.66%
   10/8/2020   EASTERN                            91.21%       84.38%
   10/8/2020   GREAT LAKES                        90.31%       81.25%
   10/8/2020   NORTHEAST                          94.44%       90.51%
   10/8/2020   PACIFIC                            94.71%       96.75%
   10/8/2020   SOUTHERN                           92.91%       90.92%
   10/8/2020   WESTERN                            94.73%       94.19%
   10/9/2020   CAPITAL METRO                      86.25%       84.03%
   10/9/2020   EASTERN                            86.56%       86.97%
   10/9/2020   GREAT LAKES                        88.14%       83.50%
   10/9/2020   NORTHEAST                          89.81%       90.14%
   10/9/2020   PACIFIC                            92.51%       94.65%
   10/9/2020   SOUTHERN                           88.80%       89.80%
   10/9/2020   WESTERN                            90.83%       91.41%
  10/10/2020   CAPITAL METRO                      82.85%       85.65%
  10/10/2020   EASTERN                            84.74%       88.57%
  10/10/2020   GREAT LAKES                        84.84%       83.11%
  10/10/2020   NORTHEAST                          90.13%       89.73%
  10/10/2020   PACIFIC                            92.78%       94.32%
  10/10/2020   SOUTHERN                           87.86%       90.07%
  10/10/2020   WESTERN                            90.12%       90.77%
  10/13/2020   CAPITAL METRO                      87.42%       87.08%
  10/13/2020   EASTERN                            88.44%       89.57%
  10/13/2020   GREAT LAKES                        89.61%       84.25%
  10/13/2020   NORTHEAST                          91.47%       91.22%
  10/13/2020   PACIFIC                            94.52%       95.84%
  10/13/2020   SOUTHERN                           90.37%       91.52%
  10/13/2020   WESTERN                            91.87%       91.80%
  10/14/2020   CAPITAL METRO                      48.73%       84.85%
  10/14/2020   EASTERN                            56.03%       87.17%
  10/14/2020   GREAT LAKES                        56.51%       83.02%
  10/14/2020   NORTHEAST                          68.46%       93.51%
  10/14/2020   PACIFIC                            78.64%       95.95%
  10/14/2020   SOUTHERN                           62.83%       85.72%
  10/14/2020   WESTERN                            66.73%       85.37%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 8 of 41


  10/15/2020   CAPITAL METRO                      86.45%       79.92%
  10/15/2020   EASTERN                            90.49%       83.24%
  10/15/2020   GREAT LAKES                        90.54%       85.09%
  10/15/2020   NORTHEAST                          94.59%       89.95%
  10/15/2020   PACIFIC                            94.96%       94.77%
  10/15/2020   SOUTHERN                           92.60%       90.78%
  10/15/2020   WESTERN                            94.72%       87.46%
  10/16/2020   CAPITAL METRO                      89.64%       86.25%
  10/16/2020   EASTERN                            89.01%       91.88%
  10/16/2020   GREAT LAKES                        91.69%       90.79%
  10/16/2020   NORTHEAST                          93.54%       93.48%
  10/16/2020   PACIFIC                            96.22%       96.92%
  10/16/2020   SOUTHERN                           93.92%       95.09%
  10/16/2020   WESTERN                            95.12%       94.45%
  10/17/2020   CAPITAL METRO                      77.55%       80.20%
  10/17/2020   EASTERN                            81.08%       84.32%
  10/17/2020   GREAT LAKES                        85.54%       87.54%
  10/17/2020   NORTHEAST                          87.79%       92.65%
  10/17/2020   PACIFIC                            91.67%       94.97%
  10/17/2020   SOUTHERN                           84.82%       90.68%
  10/17/2020   WESTERN                            86.94%       87.40%
  10/19/2020   CAPITAL METRO                      82.47%       75.02%
  10/19/2020   EASTERN                            82.74%       82.70%
  10/19/2020   GREAT LAKES                        88.46%       85.89%
  10/19/2020   NORTHEAST                          90.38%       92.76%
  10/19/2020   PACIFIC                            93.72%       95.75%
  10/19/2020   SOUTHERN                           89.12%       93.07%
  10/19/2020   WESTERN                            87.49%       87.24%
  10/20/2020   CAPITAL METRO                      51.38%       84.84%
  10/20/2020   EASTERN                            49.54%       89.73%
  10/20/2020   GREAT LAKES                        55.58%       90.24%
  10/20/2020   NORTHEAST                          71.45%       95.39%
  10/20/2020   PACIFIC                            68.91%       96.17%
  10/20/2020   SOUTHERN                           63.41%       92.70%
  10/20/2020   WESTERN                            63.71%       88.66%
  10/21/2020   CAPITAL METRO                      62.62%       77.62%
  10/21/2020   EASTERN                            71.10%       82.64%
  10/21/2020   GREAT LAKES                        71.52%       88.10%
  10/21/2020   NORTHEAST                          83.44%       93.87%
  10/21/2020   PACIFIC                            80.73%       96.68%
  10/21/2020   SOUTHERN                           73.46%       90.79%
  10/21/2020   WESTERN                            79.78%       89.89%
  10/22/2020   CAPITAL METRO                      82.34%       72.04%
  10/22/2020   EASTERN                            84.09%       82.80%
  10/22/2020   GREAT LAKES                        87.60%       88.33%
  10/22/2020   NORTHEAST                          91.21%       93.20%
  10/22/2020   PACIFIC                            91.44%       96.91%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 9 of 41


  10/22/2020   SOUTHERN                             89.38%     90.13%
  10/22/2020   WESTERN                              90.85%     91.50%
  10/23/2020   CAPITAL METRO                        80.55%     76.07%
  10/23/2020   EASTERN                              83.93%     77.84%
  10/23/2020   GREAT LAKES                          88.66%     86.82%
  10/23/2020   NORTHEAST                            91.06%     93.54%
  10/23/2020   PACIFIC                              92.14%     95.47%
  10/23/2020   SOUTHERN                             88.67%     85.35%
  10/23/2020   WESTERN                              90.16%     92.12%
  10/24/2020   Capital Metro                        80.02%     79.54%
  10/24/2020   Eastern                              80.51%     83.95%
  10/24/2020   Great Lakes                          86.00%     89.86%
  10/24/2020   Northeast                            89.87%     92.90%
  10/24/2020   Pacific                              92.42%     96.13%
  10/24/2020   Southern                             87.83%     88.32%
  10/24/2020   Western                              86.85%     92.38%
  10/26/2020   Capital Metro                        82.42%     74.64%
  10/26/2020   Eastern                              82.69%     79.97%
  10/26/2020   Great Lakes                          88.49%     89.80%
  10/26/2020   Northeast                            92.55%     92.74%
  10/26/2020   Pacific                              94.38%     96.28%
  10/26/2020   Southern                             89.96%     91.22%
  10/26/2020   Western                              90.31%     92.15%
  10/27/2020   Capital Metro                        56.10%     78.91%
  10/27/2020   Eastern                              57.67%     85.18%
  10/27/2020   Great Lakes                          61.19%     88.64%
  10/27/2020   Northeast                            73.71%     93.01%
  10/27/2020   Pacific                              73.24%     96.36%
  10/27/2020   Southern                             68.93%     92.02%
  10/27/2020   Western                              65.47%     91.62%
  10/28/2020   Capital Metro                        76.27%     73.18%
  10/28/2020   Eastern                              79.97%     80.88%
  10/28/2020   Great Lakes                          80.32%     85.72%
  10/28/2020   Northeast                            88.96%     92.75%
  10/28/2020   Pacific                              90.19%     95.68%
  10/28/2020   Southern                             85.98%     90.63%
  10/28/2020   Western                              86.13%     88.14%

   10/3/2020   CAPITAL METRO   ATLANTA              89.35%     74.06%
   10/3/2020   CAPITAL METRO   BALTIMORE            83.74%     93.43%
   10/3/2020   CAPITAL METRO   CAPITAL              80.51%     91.53%
   10/3/2020   CAPITAL METRO   GREATER S CAROLINA   88.56%     93.61%
   10/3/2020   CAPITAL METRO   GREENSBORO           87.33%     88.64%
   10/3/2020   CAPITAL METRO   MID-CAROLINAS        92.27%     91.55%
   10/3/2020   CAPITAL METRO   NORTHERN VIRGINIA    88.69%     94.96%
   10/3/2020   CAPITAL METRO   RICHMOND             88.89%     90.92%
   10/3/2020   EASTERN         APPALACHIAN          88.03%     96.37%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 10 of 41


                             CENTRAL
   10/3/2020   EASTERN       PENNSYLVANIA         87.83%       92.19%
   10/3/2020   EASTERN       KENTUCKIANA          86.86%       95.83%
   10/3/2020   EASTERN       NORTHERN OHIO        91.20%       92.26%
   10/3/2020   EASTERN       OHIO VALLEY          87.76%       86.03%
                             PHILADELPHIA
   10/3/2020   EASTERN       METROPO              79.96%       74.00%
   10/3/2020   EASTERN       SOUTH JERSEY         88.08%       84.43%
   10/3/2020   EASTERN       TENNESSEE            89.30%       92.18%
   10/3/2020   EASTERN       WESTERN NEW YORK     94.95%       92.13%
                             WESTERN
   10/3/2020   EASTERN       PENNSYLVANIA         94.24%       97.03%
   10/3/2020   GREAT LAKES   CENTRAL ILLINOIS     88.81%       89.55%
   10/3/2020   GREAT LAKES   CHICAGO              85.01%       92.59%
   10/3/2020   GREAT LAKES   DETROIT              83.20%       78.83%
   10/3/2020   GREAT LAKES   GATEWAY              92.14%       93.07%
   10/3/2020   GREAT LAKES   GREATER INDIANA      93.83%       92.35%
   10/3/2020   GREAT LAKES   GREATER MICHIGAN     92.99%       94.07%
   10/3/2020   GREAT LAKES   LAKELAND             89.61%       95.01%
   10/3/2020   NORTHEAST     ALBANY               93.48%       95.16%
   10/3/2020   NORTHEAST     CARIBBEAN            95.90%       79.76%
   10/3/2020   NORTHEAST     CONNECTICUT VALLEY   89.18%       95.25%
   10/3/2020   NORTHEAST     GREATER BOSTON       91.94%       92.33%
   10/3/2020   NORTHEAST     LONG ISLAND          90.79%       95.65%
   10/3/2020   NORTHEAST     NEW YORK             93.28%       96.94%
                             NORTHERN NEW
   10/3/2020 NORTHEAST       ENGLAND              92.77%       95.40%
                             NORTHERN NEW
   10/3/2020   NORTHEAST     JERSEY               93.12%       94.04%
   10/3/2020   NORTHEAST     TRIBORO              93.50%       95.73%
   10/3/2020   NORTHEAST     WESTCHESTER          93.30%       88.82%
   10/3/2020   PACIFIC       BAY-VALLEY           95.40%       95.93%
   10/3/2020   PACIFIC       HONOLULU             91.63%       80.91%
   10/3/2020   PACIFIC       LOS ANGELES          95.63%       96.95%
   10/3/2020   PACIFIC       SACRAMENTO           94.23%       96.68%
   10/3/2020   PACIFIC       SAN DIEGO            95.36%       96.62%
   10/3/2020   PACIFIC       SAN FRANCISCO        96.23%       98.12%
   10/3/2020   PACIFIC       SANTA ANA            94.80%       98.18%
   10/3/2020   PACIFIC       SIERRA COASTAL       95.46%       98.02%
   10/3/2020   SOUTHERN      ALABAMA              87.93%       78.84%
   10/3/2020   SOUTHERN      ARKANSAS             94.10%       94.76%
   10/3/2020   SOUTHERN      DALLAS               92.67%       95.46%
   10/3/2020   SOUTHERN      FT WORTH             92.94%       95.14%
   10/3/2020   SOUTHERN      GULF ATLANTIC        88.52%       93.43%
   10/3/2020   SOUTHERN      HOUSTON              88.86%       97.08%
   10/3/2020   SOUTHERN      LOUISIANA            94.00%       94.68%
   10/3/2020   SOUTHERN      MISSISSIPPI          81.01%       84.89%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 11 of 41


   10/3/2020   SOUTHERN        OKLAHOMA             94.31%     94.64%
   10/3/2020   SOUTHERN        RIO GRANDE           92.64%     96.92%
   10/3/2020   SOUTHERN        SOUTH FLORIDA        86.65%     93.92%
   10/3/2020   SOUTHERN        SUNCOAST             91.92%     92.19%
   10/3/2020   WESTERN         ALASKA               92.94%     98.63%
   10/3/2020   WESTERN         ARIZONA              92.56%     92.78%
   10/3/2020   WESTERN         CENTRAL PLAINS       96.92%     95.02%
   10/3/2020   WESTERN         COLORADO/WYOMIN      88.05%     88.76%
   10/3/2020   WESTERN         DAKOTAS              95.60%     95.98%
   10/3/2020   WESTERN         HAWKEYE              94.03%     93.27%
   10/3/2020   WESTERN         MID-AMERICA          92.29%     90.71%
   10/3/2020   WESTERN         NEVADA SIERRA        95.98%     96.82%
   10/3/2020   WESTERN         NORTHLAND            89.30%     94.17%
   10/3/2020   WESTERN         PORTLAND             93.20%     96.02%
   10/3/2020   WESTERN         SALT LAKE CITY       93.17%     96.10%
   10/3/2020   WESTERN         SEATTLE              92.21%     97.83%
   10/5/2020   CAPITAL METRO   ATLANTA              88.03%     86.42%
   10/5/2020   CAPITAL METRO   BALTIMORE            84.84%     80.47%
   10/5/2020   CAPITAL METRO   CAPITAL              84.13%     90.30%
   10/5/2020   CAPITAL METRO   GREATER S CAROLINA   89.90%     89.42%
   10/5/2020   CAPITAL METRO   GREENSBORO           86.86%     93.64%
   10/5/2020   CAPITAL METRO   MID-CAROLINAS        90.32%     90.38%
   10/5/2020   CAPITAL METRO   NORTHERN VIRGINIA    87.50%     96.14%
   10/5/2020   CAPITAL METRO   RICHMOND             90.46%     91.70%
   10/5/2020   EASTERN         APPALACHIAN          88.89%     95.23%
                               CENTRAL
   10/5/2020   EASTERN         PENNSYLVANIA         91.30%     94.47%
   10/5/2020   EASTERN         KENTUCKIANA          90.95%     94.04%
   10/5/2020   EASTERN         NORTHERN OHIO        91.24%     93.33%
   10/5/2020   EASTERN         OHIO VALLEY          89.97%     92.47%
                               PHILADELPHIA
   10/5/2020   EASTERN         METROPO              86.16%     82.56%
   10/5/2020   EASTERN         SOUTH JERSEY         88.89%     92.15%
   10/5/2020   EASTERN         TENNESSEE            89.54%     89.14%
   10/5/2020   EASTERN         WESTERN NEW YORK     93.43%     92.65%
                               WESTERN
   10/5/2020   EASTERN         PENNSYLVANIA         93.45%     97.06%
   10/5/2020   GREAT LAKES     CENTRAL ILLINOIS     88.45%     69.02%
   10/5/2020   GREAT LAKES     CHICAGO              91.02%     94.53%
   10/5/2020   GREAT LAKES     DETROIT              84.08%     66.10%
   10/5/2020   GREAT LAKES     GATEWAY              92.85%     93.19%
   10/5/2020   GREAT LAKES     GREATER INDIANA      93.73%     95.04%
   10/5/2020   GREAT LAKES     GREATER MICHIGAN     92.49%     90.82%
   10/5/2020   GREAT LAKES     LAKELAND             91.72%     92.99%
   10/5/2020   NORTHEAST       ALBANY               93.96%     96.98%
   10/5/2020   NORTHEAST       CARIBBEAN            90.32%     73.73%
   10/5/2020   NORTHEAST       CONNECTICUT VALLEY   93.51%     94.76%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 12 of 41


   10/5/2020 NORTHEAST         GREATER BOSTON       94.42%     89.99%
   10/5/2020 NORTHEAST         LONG ISLAND          93.71%     92.77%
   10/5/2020 NORTHEAST         NEW YORK             93.76%     97.27%
                               NORTHERN NEW
   10/5/2020 NORTHEAST         ENGLAND              92.14%     83.16%
                               NORTHERN NEW
   10/5/2020   NORTHEAST       JERSEY               93.72%     92.28%
   10/5/2020   NORTHEAST       TRIBORO              93.39%     96.61%
   10/5/2020   NORTHEAST       WESTCHESTER          89.89%     95.22%
   10/5/2020   PACIFIC         BAY-VALLEY           95.61%     91.18%
   10/5/2020   PACIFIC         HONOLULU             93.07%     51.82%
   10/5/2020   PACIFIC         LOS ANGELES          95.12%     96.94%
   10/5/2020   PACIFIC         SACRAMENTO           95.81%     96.55%
   10/5/2020   PACIFIC         SAN DIEGO            94.93%     97.55%
   10/5/2020   PACIFIC         SAN FRANCISCO        96.24%     94.48%
   10/5/2020   PACIFIC         SANTA ANA            95.77%     98.28%
   10/5/2020   PACIFIC         SIERRA COASTAL       95.10%     98.62%
   10/5/2020   SOUTHERN        ALABAMA              88.89%     83.23%
   10/5/2020   SOUTHERN        ARKANSAS             93.89%     95.18%
   10/5/2020   SOUTHERN        DALLAS               94.44%     94.99%
   10/5/2020   SOUTHERN        FT WORTH             95.08%     95.43%
   10/5/2020   SOUTHERN        GULF ATLANTIC        86.30%     89.59%
   10/5/2020   SOUTHERN        HOUSTON              92.74%     97.71%
   10/5/2020   SOUTHERN        LOUISIANA            93.57%     94.22%
   10/5/2020   SOUTHERN        MISSISSIPPI          83.35%     84.65%
   10/5/2020   SOUTHERN        OKLAHOMA             95.51%     95.21%
   10/5/2020   SOUTHERN        RIO GRANDE           95.03%     97.42%
   10/5/2020   SOUTHERN        SOUTH FLORIDA        87.93%     89.70%
   10/5/2020   SOUTHERN        SUNCOAST             93.13%     93.01%
   10/5/2020   WESTERN         ALASKA               92.93%     97.13%
   10/5/2020   WESTERN         ARIZONA              92.03%     95.09%
   10/5/2020   WESTERN         CENTRAL PLAINS       95.33%     96.23%
   10/5/2020   WESTERN         COLORADO/WYOMIN      89.66%     93.92%
   10/5/2020   WESTERN         DAKOTAS              95.34%     94.89%
   10/5/2020   WESTERN         HAWKEYE              92.46%     90.45%
   10/5/2020   WESTERN         MID-AMERICA          91.39%     87.67%
   10/5/2020   WESTERN         NEVADA SIERRA        94.76%     94.72%
   10/5/2020   WESTERN         NORTHLAND            92.54%     93.42%
   10/5/2020   WESTERN         PORTLAND             92.89%     95.25%
   10/5/2020   WESTERN         SALT LAKE CITY       95.61%     95.56%
   10/5/2020   WESTERN         SEATTLE              93.45%     97.34%
   10/6/2020   CAPITAL METRO   ATLANTA              58.18%     86.76%
   10/6/2020   CAPITAL METRO   BALTIMORE            45.37%     93.84%
   10/6/2020   CAPITAL METRO   CAPITAL              53.14%     95.12%
   10/6/2020   CAPITAL METRO   GREATER S CAROLINA   51.75%     96.65%
   10/6/2020   CAPITAL METRO   GREENSBORO           56.63%     90.70%
   10/6/2020   CAPITAL METRO   MID-CAROLINAS        73.60%     96.62%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 13 of 41


   10/6/2020 CAPITAL METRO   NORTHERN VIRGINIA    57.29%       96.33%
   10/6/2020 CAPITAL METRO   RICHMOND             69.15%       93.32%
   10/6/2020 EASTERN         APPALACHIAN          52.54%       96.62%
                             CENTRAL
   10/6/2020   EASTERN       PENNSYLVANIA         65.17%       93.93%
   10/6/2020   EASTERN       KENTUCKIANA          61.12%       96.67%
   10/6/2020   EASTERN       NORTHERN OHIO        64.14%       90.74%
   10/6/2020   EASTERN       OHIO VALLEY          63.23%       93.53%
                             PHILADELPHIA
   10/6/2020   EASTERN       METROPO              57.72%       82.05%
   10/6/2020   EASTERN       SOUTH JERSEY         53.05%       88.85%
   10/6/2020   EASTERN       TENNESSEE            68.82%       94.25%
   10/6/2020   EASTERN       WESTERN NEW YORK     70.79%       96.89%
                             WESTERN
   10/6/2020   EASTERN       PENNSYLVANIA         70.57%       96.95%
   10/6/2020   GREAT LAKES   CENTRAL ILLINOIS     67.24%       88.66%
   10/6/2020   GREAT LAKES   CHICAGO              52.39%       94.35%
   10/6/2020   GREAT LAKES   DETROIT              42.14%       69.49%
   10/6/2020   GREAT LAKES   GATEWAY              68.42%       92.98%
   10/6/2020   GREAT LAKES   GREATER INDIANA      71.19%       94.46%
   10/6/2020   GREAT LAKES   GREATER MICHIGAN     66.30%       93.21%
   10/6/2020   GREAT LAKES   LAKELAND             55.40%       92.51%
   10/6/2020   NORTHEAST     ALBANY               81.94%       96.86%
   10/6/2020   NORTHEAST     CARIBBEAN            87.46%       58.99%
   10/6/2020   NORTHEAST     CONNECTICUT VALLEY   75.81%       96.31%
   10/6/2020   NORTHEAST     GREATER BOSTON       68.38%       95.93%
   10/6/2020   NORTHEAST     LONG ISLAND          77.18%       95.16%
   10/6/2020   NORTHEAST     NEW YORK             68.80%       96.85%
                             NORTHERN NEW
   10/6/2020 NORTHEAST       ENGLAND              65.28%       94.62%
                             NORTHERN NEW
   10/6/2020   NORTHEAST     JERSEY               75.50%       95.86%
   10/6/2020   NORTHEAST     TRIBORO              74.82%       86.30%
   10/6/2020   NORTHEAST     WESTCHESTER          70.64%       93.75%
   10/6/2020   PACIFIC       BAY-VALLEY           83.07%       94.00%
   10/6/2020   PACIFIC       HONOLULU             79.12%       92.71%
   10/6/2020   PACIFIC       LOS ANGELES          77.52%       96.58%
   10/6/2020   PACIFIC       SACRAMENTO           85.83%       96.90%
   10/6/2020   PACIFIC       SAN DIEGO            77.03%       96.80%
   10/6/2020   PACIFIC       SAN FRANCISCO        74.08%       93.64%
   10/6/2020   PACIFIC       SANTA ANA            63.91%       98.35%
   10/6/2020   PACIFIC       SIERRA COASTAL       76.39%       97.69%
   10/6/2020   SOUTHERN      ALABAMA              61.85%       93.81%
   10/6/2020   SOUTHERN      ARKANSAS             73.13%       97.24%
   10/6/2020   SOUTHERN      DALLAS               75.75%       96.37%
   10/6/2020   SOUTHERN      FT WORTH             76.25%       96.59%
   10/6/2020   SOUTHERN      GULF ATLANTIC        64.27%       94.80%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 14 of 41


   10/6/2020   SOUTHERN        HOUSTON              71.72%     98.19%
   10/6/2020   SOUTHERN        LOUISIANA            69.99%     94.93%
   10/6/2020   SOUTHERN        MISSISSIPPI          47.05%     88.08%
   10/6/2020   SOUTHERN        OKLAHOMA             70.74%     97.00%
   10/6/2020   SOUTHERN        RIO GRANDE           73.61%     97.66%
   10/6/2020   SOUTHERN        SOUTH FLORIDA        75.45%     89.50%
   10/6/2020   SOUTHERN        SUNCOAST             64.04%     91.59%
   10/6/2020   WESTERN         ALASKA               88.29%     97.75%
   10/6/2020   WESTERN         ARIZONA              73.65%     95.70%
   10/6/2020   WESTERN         CENTRAL PLAINS       88.24%     96.56%
   10/6/2020   WESTERN         COLORADO/WYOMIN      64.80%     91.48%
   10/6/2020   WESTERN         DAKOTAS              81.88%     94.15%
   10/6/2020   WESTERN         HAWKEYE              81.89%     94.72%
   10/6/2020   WESTERN         MID-AMERICA          62.61%     92.54%
   10/6/2020   WESTERN         NEVADA SIERRA        79.57%     95.90%
   10/6/2020   WESTERN         NORTHLAND            60.55%     95.93%
   10/6/2020   WESTERN         PORTLAND             71.79%     95.08%
   10/6/2020   WESTERN         SALT LAKE CITY       79.35%     91.61%
   10/6/2020   WESTERN         SEATTLE              71.86%     97.16%
   10/7/2020   CAPITAL METRO   ATLANTA              74.09%     72.39%
   10/7/2020   CAPITAL METRO   BALTIMORE            58.88%     83.35%
   10/7/2020   CAPITAL METRO   CAPITAL              67.02%     90.48%
   10/7/2020   CAPITAL METRO   GREATER S CAROLINA   86.68%     93.36%
   10/7/2020   CAPITAL METRO   GREENSBORO           82.30%     83.38%
   10/7/2020   CAPITAL METRO   MID-CAROLINAS        78.52%     82.21%
   10/7/2020   CAPITAL METRO   NORTHERN VIRGINIA    78.10%     94.71%
   10/7/2020   CAPITAL METRO   RICHMOND             83.83%     91.71%
   10/7/2020   EASTERN         APPALACHIAN          82.15%     94.82%
                               CENTRAL
   10/7/2020   EASTERN         PENNSYLVANIA         77.31%     87.62%
   10/7/2020   EASTERN         KENTUCKIANA          84.04%     95.18%
   10/7/2020   EASTERN         NORTHERN OHIO        82.95%     87.84%
   10/7/2020   EASTERN         OHIO VALLEY          80.63%     89.76%
                               PHILADELPHIA
   10/7/2020   EASTERN         METROPO              78.38%     85.57%
   10/7/2020   EASTERN         SOUTH JERSEY         76.54%     90.47%
   10/7/2020   EASTERN         TENNESSEE            87.96%     92.99%
   10/7/2020   EASTERN         WESTERN NEW YORK     94.15%     96.49%
                               WESTERN
   10/7/2020   EASTERN         PENNSYLVANIA         89.30%     96.78%
   10/7/2020   GREAT LAKES     CENTRAL ILLINOIS     75.57%     67.50%
   10/7/2020   GREAT LAKES     CHICAGO              82.42%     82.34%
   10/7/2020   GREAT LAKES     DETROIT              63.49%     78.51%
   10/7/2020   GREAT LAKES     GATEWAY              84.46%     83.62%
   10/7/2020   GREAT LAKES     GREATER INDIANA      89.45%     88.63%
   10/7/2020   GREAT LAKES     GREATER MICHIGAN     88.26%     92.79%
   10/7/2020   GREAT LAKES     LAKELAND             82.23%     89.21%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 15 of 41


   10/7/2020   NORTHEAST       ALBANY               94.42%     86.84%
   10/7/2020   NORTHEAST       CARIBBEAN            96.32%     88.52%
   10/7/2020   NORTHEAST       CONNECTICUT VALLEY   87.68%     94.98%
   10/7/2020   NORTHEAST       GREATER BOSTON       91.33%     91.31%
   10/7/2020   NORTHEAST       LONG ISLAND          84.82%     93.45%
   10/7/2020   NORTHEAST       NEW YORK             89.38%     95.17%
                               NORTHERN NEW
   10/7/2020 NORTHEAST         ENGLAND              91.88%     93.42%
                               NORTHERN NEW
   10/7/2020   NORTHEAST       JERSEY               89.76%     91.97%
   10/7/2020   NORTHEAST       TRIBORO              88.76%     94.00%
   10/7/2020   NORTHEAST       WESTCHESTER          85.99%     93.14%
   10/7/2020   PACIFIC         BAY-VALLEY           95.38%     93.53%
   10/7/2020   PACIFIC         HONOLULU             91.32%     91.81%
   10/7/2020   PACIFIC         LOS ANGELES          91.51%     95.67%
   10/7/2020   PACIFIC         SACRAMENTO           83.41%     95.86%
   10/7/2020   PACIFIC         SAN DIEGO            90.72%     97.84%
   10/7/2020   PACIFIC         SAN FRANCISCO        91.85%     96.98%
   10/7/2020   PACIFIC         SANTA ANA            92.54%     97.36%
   10/7/2020   PACIFIC         SIERRA COASTAL       89.65%     98.11%
   10/7/2020   SOUTHERN        ALABAMA              85.37%     90.78%
   10/7/2020   SOUTHERN        ARKANSAS             92.51%     93.73%
   10/7/2020   SOUTHERN        DALLAS               80.61%     94.76%
   10/7/2020   SOUTHERN        FT WORTH             93.09%     94.73%
   10/7/2020   SOUTHERN        GULF ATLANTIC        81.72%     85.47%
   10/7/2020   SOUTHERN        HOUSTON              79.36%     96.31%
   10/7/2020   SOUTHERN        LOUISIANA            91.07%     95.58%
   10/7/2020   SOUTHERN        MISSISSIPPI          83.03%     86.08%
   10/7/2020   SOUTHERN        OKLAHOMA             94.93%     96.53%
   10/7/2020   SOUTHERN        RIO GRANDE           90.61%     95.38%
   10/7/2020   SOUTHERN        SOUTH FLORIDA        70.42%     88.63%
   10/7/2020   SOUTHERN        SUNCOAST             87.51%     88.99%
   10/7/2020   WESTERN         ALASKA               91.27%     94.49%
   10/7/2020   WESTERN         ARIZONA              88.69%     95.74%
   10/7/2020   WESTERN         CENTRAL PLAINS       91.61%     95.47%
   10/7/2020   WESTERN         COLORADO/WYOMIN      81.20%     94.11%
   10/7/2020   WESTERN         DAKOTAS              91.68%     95.10%
   10/7/2020   WESTERN         HAWKEYE              88.59%     92.72%
   10/7/2020   WESTERN         MID-AMERICA          86.66%     85.92%
   10/7/2020   WESTERN         NEVADA SIERRA        87.30%     93.26%
   10/7/2020   WESTERN         NORTHLAND            84.59%     95.72%
   10/7/2020   WESTERN         PORTLAND             93.03%     95.11%
   10/7/2020   WESTERN         SALT LAKE CITY       89.92%     94.23%
   10/7/2020   WESTERN         SEATTLE              93.16%     96.79%
   10/8/2020   CAPITAL METRO   ATLANTA              91.55%     75.66%
   10/8/2020   CAPITAL METRO   BALTIMORE            79.53%     70.85%
   10/8/2020   CAPITAL METRO   CAPITAL              82.13%     84.57%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 16 of 41


   10/8/2020   CAPITAL METRO   GREATER S CAROLINA   91.08%     93.60%
   10/8/2020   CAPITAL METRO   GREENSBORO           86.89%     81.75%
   10/8/2020   CAPITAL METRO   MID-CAROLINAS        89.21%     90.70%
   10/8/2020   CAPITAL METRO   NORTHERN VIRGINIA    91.64%     90.38%
   10/8/2020   CAPITAL METRO   RICHMOND             90.42%     85.62%
   10/8/2020   EASTERN         APPALACHIAN          90.56%     89.68%
                               CENTRAL
   10/8/2020   EASTERN         PENNSYLVANIA         87.43%     81.43%
   10/8/2020   EASTERN         KENTUCKIANA          90.61%     95.13%
   10/8/2020   EASTERN         NORTHERN OHIO        91.68%     87.43%
   10/8/2020   EASTERN         OHIO VALLEY          90.42%     71.77%
                               PHILADELPHIA
   10/8/2020   EASTERN         METROPO              90.95%     64.85%
   10/8/2020   EASTERN         SOUTH JERSEY         89.69%     86.68%
   10/8/2020   EASTERN         TENNESSEE            93.85%     92.26%
   10/8/2020   EASTERN         WESTERN NEW YORK     95.73%     93.89%
                               WESTERN
   10/8/2020   EASTERN         PENNSYLVANIA         94.28%     96.99%
   10/8/2020   GREAT LAKES     CENTRAL ILLINOIS     87.45%     73.72%
   10/8/2020   GREAT LAKES     CHICAGO              93.35%     95.89%
   10/8/2020   GREAT LAKES     DETROIT              80.27%     67.63%
   10/8/2020   GREAT LAKES     GATEWAY              91.74%     86.04%
   10/8/2020   GREAT LAKES     GREATER INDIANA      94.45%     93.60%
   10/8/2020   GREAT LAKES     GREATER MICHIGAN     91.58%     88.85%
   10/8/2020   GREAT LAKES     LAKELAND             92.97%     80.09%
   10/8/2020   NORTHEAST       ALBANY               93.13%     83.21%
   10/8/2020   NORTHEAST       CARIBBEAN            99.08%     96.63%
   10/8/2020   NORTHEAST       CONNECTICUT VALLEY   95.68%     92.50%
   10/8/2020   NORTHEAST       GREATER BOSTON       95.76%     88.93%
   10/8/2020   NORTHEAST       LONG ISLAND          89.95%     94.65%
   10/8/2020   NORTHEAST       NEW YORK             93.90%     97.20%
                               NORTHERN NEW
   10/8/2020 NORTHEAST         ENGLAND              94.16%     85.94%
                               NORTHERN NEW
   10/8/2020   NORTHEAST       JERSEY               95.54%     93.09%
   10/8/2020   NORTHEAST       TRIBORO              96.44%     90.02%
   10/8/2020   NORTHEAST       WESTCHESTER          92.73%     90.07%
   10/8/2020   PACIFIC         BAY-VALLEY           95.27%     93.59%
   10/8/2020   PACIFIC         HONOLULU             87.53%     92.26%
   10/8/2020   PACIFIC         LOS ANGELES          95.26%     97.30%
   10/8/2020   PACIFIC         SACRAMENTO           95.04%     95.92%
   10/8/2020   PACIFIC         SAN DIEGO            95.65%     96.74%
   10/8/2020   PACIFIC         SAN FRANCISCO        95.03%     96.75%
   10/8/2020   PACIFIC         SANTA ANA            93.67%     97.92%
   10/8/2020   PACIFIC         SIERRA COASTAL       94.30%     98.32%
   10/8/2020   SOUTHERN        ALABAMA              83.08%     82.77%
   10/8/2020   SOUTHERN        ARKANSAS             95.22%     94.38%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 17 of 41


   10/8/2020   SOUTHERN        DALLAS               93.41%     95.91%
   10/8/2020   SOUTHERN        FT WORTH             95.07%     94.72%
   10/8/2020   SOUTHERN        GULF ATLANTIC        92.87%     92.04%
   10/8/2020   SOUTHERN        HOUSTON              94.25%     97.02%
   10/8/2020   SOUTHERN        LOUISIANA            94.85%     95.08%
   10/8/2020   SOUTHERN        MISSISSIPPI          87.59%     88.53%
   10/8/2020   SOUTHERN        OKLAHOMA             95.60%     95.20%
   10/8/2020   SOUTHERN        RIO GRANDE           94.48%     97.19%
   10/8/2020   SOUTHERN        SOUTH FLORIDA        91.39%     83.50%
   10/8/2020   SOUTHERN        SUNCOAST             94.21%     85.51%
   10/8/2020   WESTERN         ALASKA               96.28%     95.86%
   10/8/2020   WESTERN         ARIZONA              95.73%     93.36%
   10/8/2020   WESTERN         CENTRAL PLAINS       96.58%     94.48%
   10/8/2020   WESTERN         COLORADO/WYOMIN      90.57%     94.29%
   10/8/2020   WESTERN         DAKOTAS              95.29%     95.40%
   10/8/2020   WESTERN         HAWKEYE              91.14%     93.20%
   10/8/2020   WESTERN         MID-AMERICA          94.36%     83.75%
   10/8/2020   WESTERN         NEVADA SIERRA        96.04%     96.96%
   10/8/2020   WESTERN         NORTHLAND            92.15%     95.06%
   10/8/2020   WESTERN         PORTLAND             95.27%     96.58%
   10/8/2020   WESTERN         SALT LAKE CITY       97.16%     94.96%
   10/8/2020   WESTERN         SEATTLE              94.63%     96.92%
   10/9/2020   CAPITAL METRO   ATLANTA              90.18%     68.68%
   10/9/2020   CAPITAL METRO   BALTIMORE            80.31%     85.83%
   10/9/2020   CAPITAL METRO   CAPITAL              78.50%     88.51%
   10/9/2020   CAPITAL METRO   GREATER S CAROLINA   82.77%     85.87%
   10/9/2020   CAPITAL METRO   GREENSBORO           79.48%     82.21%
   10/9/2020   CAPITAL METRO   MID-CAROLINAS        91.46%     90.12%
   10/9/2020   CAPITAL METRO   NORTHERN VIRGINIA    83.60%     94.64%
   10/9/2020   CAPITAL METRO   RICHMOND             88.70%     91.36%
   10/9/2020   EASTERN         APPALACHIAN          85.04%     91.38%
                               CENTRAL
   10/9/2020   EASTERN         PENNSYLVANIA         86.24%     91.40%
   10/9/2020   EASTERN         KENTUCKIANA          88.68%     95.60%
   10/9/2020   EASTERN         NORTHERN OHIO        83.34%     85.16%
   10/9/2020   EASTERN         OHIO VALLEY          86.74%     77.35%
                               PHILADELPHIA
   10/9/2020   EASTERN         METROPO              81.55%     69.81%
   10/9/2020   EASTERN         SOUTH JERSEY         83.02%     85.42%
   10/9/2020   EASTERN         TENNESSEE            88.25%     90.70%
   10/9/2020   EASTERN         WESTERN NEW YORK     91.80%     94.39%
                               WESTERN
   10/9/2020   EASTERN         PENNSYLVANIA         93.18%     97.10%
   10/9/2020   GREAT LAKES     CENTRAL ILLINOIS     82.15%     80.15%
   10/9/2020   GREAT LAKES     CHICAGO              88.80%     92.24%
   10/9/2020   GREAT LAKES     DETROIT              76.48%     63.46%
   10/9/2020   GREAT LAKES     GATEWAY              91.49%     84.35%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 18 of 41


   10/9/2020   GREAT LAKES   GREATER INDIANA      94.99%       91.00%
   10/9/2020   GREAT LAKES   GREATER MICHIGAN     90.50%       88.57%
   10/9/2020   GREAT LAKES   LAKELAND             90.38%       92.89%
   10/9/2020   NORTHEAST     ALBANY               85.30%       78.72%
   10/9/2020   NORTHEAST     CARIBBEAN            96.02%       94.48%
   10/9/2020   NORTHEAST     CONNECTICUT VALLEY   94.98%       92.64%
   10/9/2020   NORTHEAST     GREATER BOSTON       92.11%       92.00%
   10/9/2020   NORTHEAST     LONG ISLAND          78.18%       96.25%
   10/9/2020   NORTHEAST     NEW YORK             88.33%       98.28%
                             NORTHERN NEW
   10/9/2020 NORTHEAST       ENGLAND              91.32%       80.26%
                             NORTHERN NEW
   10/9/2020   NORTHEAST     JERSEY               92.75%       91.82%
   10/9/2020   NORTHEAST     TRIBORO              88.54%       93.69%
   10/9/2020   NORTHEAST     WESTCHESTER          89.36%       84.86%
   10/9/2020   PACIFIC       BAY-VALLEY           93.38%       90.06%
   10/9/2020   PACIFIC       HONOLULU             93.31%       81.40%
   10/9/2020   PACIFIC       LOS ANGELES          95.17%       95.56%
   10/9/2020   PACIFIC       SACRAMENTO           89.53%       89.73%
   10/9/2020   PACIFIC       SAN DIEGO            91.47%       96.47%
   10/9/2020   PACIFIC       SAN FRANCISCO        95.64%       96.61%
   10/9/2020   PACIFIC       SANTA ANA            92.36%       97.52%
   10/9/2020   PACIFIC       SIERRA COASTAL       92.98%       97.72%
   10/9/2020   SOUTHERN      ALABAMA              78.72%       78.65%
   10/9/2020   SOUTHERN      ARKANSAS             92.25%       91.84%
   10/9/2020   SOUTHERN      DALLAS               87.40%       93.94%
   10/9/2020   SOUTHERN      FT WORTH             91.86%       91.77%
   10/9/2020   SOUTHERN      GULF ATLANTIC        82.90%       85.63%
   10/9/2020   SOUTHERN      HOUSTON              90.19%       94.07%
   10/9/2020   SOUTHERN      LOUISIANA            89.77%       84.49%
   10/9/2020   SOUTHERN      MISSISSIPPI          87.46%       90.98%
   10/9/2020   SOUTHERN      OKLAHOMA             92.45%       94.35%
   10/9/2020   SOUTHERN      RIO GRANDE           92.07%       95.20%
   10/9/2020   SOUTHERN      SOUTH FLORIDA        92.39%       88.60%
   10/9/2020   SOUTHERN      SUNCOAST             90.40%       90.49%
   10/9/2020   WESTERN       ALASKA               95.49%       94.42%
   10/9/2020   WESTERN       ARIZONA              92.23%       94.36%
   10/9/2020   WESTERN       CENTRAL PLAINS       94.04%       92.35%
   10/9/2020   WESTERN       COLORADO/WYOMIN      88.43%       81.27%
   10/9/2020   WESTERN       DAKOTAS              94.33%       93.56%
   10/9/2020   WESTERN       HAWKEYE              88.24%       88.49%
   10/9/2020   WESTERN       MID-AMERICA          80.94%       71.57%
   10/9/2020   WESTERN       NEVADA SIERRA        92.60%       95.63%
   10/9/2020   WESTERN       NORTHLAND            88.31%       95.72%
   10/9/2020   WESTERN       PORTLAND             93.84%       95.80%
   10/9/2020   WESTERN       SALT LAKE CITY       92.81%       93.90%
   10/9/2020   WESTERN       SEATTLE              89.92%       97.43%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 19 of 41


  10/10/2020   CAPITAL METRO   ATLANTA              85.62%     73.94%
  10/10/2020   CAPITAL METRO   BALTIMORE            75.90%     87.45%
  10/10/2020   CAPITAL METRO   CAPITAL              76.61%     88.70%
  10/10/2020   CAPITAL METRO   GREATER S CAROLINA   78.95%     89.25%
  10/10/2020   CAPITAL METRO   GREENSBORO           80.98%     86.79%
  10/10/2020   CAPITAL METRO   MID-CAROLINAS        85.22%     91.66%
  10/10/2020   CAPITAL METRO   NORTHERN VIRGINIA    84.51%     93.60%
  10/10/2020   CAPITAL METRO   RICHMOND             87.12%     88.93%
  10/10/2020   EASTERN         APPALACHIAN          90.70%     94.24%
                               CENTRAL
  10/10/2020   EASTERN         PENNSYLVANIA         78.57%     93.82%
  10/10/2020   EASTERN         KENTUCKIANA          86.65%     96.87%
  10/10/2020   EASTERN         NORTHERN OHIO        76.57%     70.72%
  10/10/2020   EASTERN         OHIO VALLEY          84.76%     81.50%
                               PHILADELPHIA
  10/10/2020   EASTERN         METROPO              87.21%     87.37%
  10/10/2020   EASTERN         SOUTH JERSEY         84.57%     76.02%
  10/10/2020   EASTERN         TENNESSEE            87.39%     94.61%
  10/10/2020   EASTERN         WESTERN NEW YORK     92.41%     91.67%
                               WESTERN
  10/10/2020   EASTERN         PENNSYLVANIA         90.21%     98.36%
  10/10/2020   GREAT LAKES     CENTRAL ILLINOIS     79.67%     79.61%
  10/10/2020   GREAT LAKES     CHICAGO              86.16%     85.04%
  10/10/2020   GREAT LAKES     DETROIT              75.12%     65.63%
  10/10/2020   GREAT LAKES     GATEWAY              88.99%     90.06%
  10/10/2020   GREAT LAKES     GREATER INDIANA      90.62%     90.69%
  10/10/2020   GREAT LAKES     GREATER MICHIGAN     87.02%     93.43%
  10/10/2020   GREAT LAKES     LAKELAND             85.92%     86.06%
  10/10/2020   NORTHEAST       ALBANY               89.47%     91.77%
  10/10/2020   NORTHEAST       CARIBBEAN            95.81%     97.46%
  10/10/2020   NORTHEAST       CONNECTICUT VALLEY   88.29%     93.61%
  10/10/2020   NORTHEAST       GREATER BOSTON       92.93%     75.69%
  10/10/2020   NORTHEAST       LONG ISLAND          86.49%     96.42%
  10/10/2020   NORTHEAST       NEW YORK             90.69%     97.91%
                               NORTHERN NEW
  10/10/2020 NORTHEAST         ENGLAND              89.59%     85.09%
                               NORTHERN NEW
  10/10/2020   NORTHEAST       JERSEY               91.22%     92.48%
  10/10/2020   NORTHEAST       TRIBORO              92.08%     91.02%
  10/10/2020   NORTHEAST       WESTCHESTER          87.93%     84.86%
  10/10/2020   PACIFIC         BAY-VALLEY           92.37%     85.45%
  10/10/2020   PACIFIC         HONOLULU             85.27%     75.11%
  10/10/2020   PACIFIC         LOS ANGELES          95.09%     96.30%
  10/10/2020   PACIFIC         SACRAMENTO           92.99%     95.69%
  10/10/2020   PACIFIC         SAN DIEGO            92.48%     95.65%
  10/10/2020   PACIFIC         SAN FRANCISCO        89.61%     96.02%
  10/10/2020   PACIFIC         SANTA ANA            92.77%     98.10%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 20 of 41


  10/10/2020   PACIFIC         SIERRA COASTAL       94.88%     97.74%
  10/10/2020   SOUTHERN        ALABAMA              78.30%     81.65%
  10/10/2020   SOUTHERN        ARKANSAS             91.03%     95.03%
  10/10/2020   SOUTHERN        DALLAS               87.04%     93.92%
  10/10/2020   SOUTHERN        FT WORTH             88.44%     95.43%
  10/10/2020   SOUTHERN        GULF ATLANTIC        83.52%     85.34%
  10/10/2020   SOUTHERN        HOUSTON              92.60%     94.56%
  10/10/2020   SOUTHERN        LOUISIANA            87.30%     94.51%
  10/10/2020   SOUTHERN        MISSISSIPPI          85.53%     89.91%
  10/10/2020   SOUTHERN        OKLAHOMA             91.09%     94.36%
  10/10/2020   SOUTHERN        RIO GRANDE           91.87%     96.75%
  10/10/2020   SOUTHERN        SOUTH FLORIDA        90.08%     86.15%
  10/10/2020   SOUTHERN        SUNCOAST             86.35%     86.55%
  10/10/2020   WESTERN         ALASKA               90.84%     95.02%
  10/10/2020   WESTERN         ARIZONA              89.56%     77.01%
  10/10/2020   WESTERN         CENTRAL PLAINS       94.62%     95.66%
  10/10/2020   WESTERN         COLORADO/WYOMIN      86.85%     93.20%
  10/10/2020   WESTERN         DAKOTAS              94.13%     96.36%
  10/10/2020   WESTERN         HAWKEYE              89.81%     93.03%
  10/10/2020   WESTERN         MID-AMERICA          79.28%     89.87%
  10/10/2020   WESTERN         NEVADA SIERRA        90.98%     94.97%
  10/10/2020   WESTERN         NORTHLAND            87.86%     93.18%
  10/10/2020   WESTERN         PORTLAND             92.46%     97.17%
  10/10/2020   WESTERN         SALT LAKE CITY       90.88%     87.57%
  10/10/2020   WESTERN         SEATTLE              90.64%     97.24%
  10/13/2020   CAPITAL METRO   ATLANTA              87.63%     72.93%
  10/13/2020   CAPITAL METRO   BALTIMORE            75.80%     73.68%
  10/13/2020   CAPITAL METRO   CAPITAL              85.33%     94.53%
  10/13/2020   CAPITAL METRO   GREATER S CAROLINA   83.48%     92.25%
  10/13/2020   CAPITAL METRO   GREENSBORO           88.36%     90.85%
  10/13/2020   CAPITAL METRO   MID-CAROLINAS        91.62%     95.93%
  10/13/2020   CAPITAL METRO   NORTHERN VIRGINIA    92.39%     95.27%
  10/13/2020   CAPITAL METRO   RICHMOND             90.43%     87.24%
  10/13/2020   EASTERN         APPALACHIAN          89.33%     94.10%
                               CENTRAL
  10/13/2020   EASTERN         PENNSYLVANIA         86.82%     94.43%
  10/13/2020   EASTERN         KENTUCKIANA          89.79%     96.24%
  10/13/2020   EASTERN         NORTHERN OHIO        85.81%     82.95%
  10/13/2020   EASTERN         OHIO VALLEY          87.46%     92.45%
                               PHILADELPHIA
  10/13/2020   EASTERN         METROPO              86.17%     75.46%
  10/13/2020   EASTERN         SOUTH JERSEY         87.72%     88.06%
  10/13/2020   EASTERN         TENNESSEE            90.89%     90.50%
  10/13/2020   EASTERN         WESTERN NEW YORK     92.95%     93.25%
                               WESTERN
  10/13/2020 EASTERN           PENNSYLVANIA         92.46%     97.70%
  10/13/2020 GREAT LAKES       CENTRAL ILLINOIS     85.71%     82.96%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 21 of 41


  10/13/2020   GREAT LAKES   CHICAGO              91.00%       93.73%
  10/13/2020   GREAT LAKES   DETROIT              83.84%       63.74%
  10/13/2020   GREAT LAKES   GATEWAY              92.35%       94.84%
  10/13/2020   GREAT LAKES   GREATER INDIANA      93.96%       93.66%
  10/13/2020   GREAT LAKES   GREATER MICHIGAN     91.13%       92.04%
  10/13/2020   GREAT LAKES   LAKELAND             90.06%       90.26%
  10/13/2020   NORTHEAST     ALBANY               90.10%       85.92%
  10/13/2020   NORTHEAST     CARIBBEAN            97.00%       97.86%
  10/13/2020   NORTHEAST     CONNECTICUT VALLEY   90.10%       92.97%
  10/13/2020   NORTHEAST     GREATER BOSTON       93.18%       93.33%
  10/13/2020   NORTHEAST     LONG ISLAND          86.70%       93.88%
  10/13/2020   NORTHEAST     NEW YORK             92.44%       98.13%
                             NORTHERN NEW
  10/13/2020 NORTHEAST       ENGLAND              92.07%       80.89%
                             NORTHERN NEW
  10/13/2020   NORTHEAST     JERSEY               93.34%       92.86%
  10/13/2020   NORTHEAST     TRIBORO              93.00%       94.81%
  10/13/2020   NORTHEAST     WESTCHESTER          89.05%       92.67%
  10/13/2020   PACIFIC       BAY-VALLEY           94.27%       93.74%
  10/13/2020   PACIFIC       HONOLULU             88.98%       73.06%
  10/13/2020   PACIFIC       LOS ANGELES          94.91%       96.38%
  10/13/2020   PACIFIC       SACRAMENTO           93.83%       94.84%
  10/13/2020   PACIFIC       SAN DIEGO            94.78%       96.89%
  10/13/2020   PACIFIC       SAN FRANCISCO        94.57%       96.45%
  10/13/2020   PACIFIC       SANTA ANA            95.57%       97.53%
  10/13/2020   PACIFIC       SIERRA COASTAL       95.40%       97.87%
  10/13/2020   SOUTHERN      ALABAMA              83.46%       81.12%
  10/13/2020   SOUTHERN      ARKANSAS             93.21%       93.62%
  10/13/2020   SOUTHERN      DALLAS               91.65%       96.13%
  10/13/2020   SOUTHERN      FT WORTH             93.60%       94.38%
  10/13/2020   SOUTHERN      GULF ATLANTIC        86.94%       87.99%
  10/13/2020   SOUTHERN      HOUSTON              90.63%       97.92%
  10/13/2020   SOUTHERN      LOUISIANA            86.63%       90.13%
  10/13/2020   SOUTHERN      MISSISSIPPI          80.70%       87.52%
  10/13/2020   SOUTHERN      OKLAHOMA             95.54%       96.13%
  10/13/2020   SOUTHERN      RIO GRANDE           93.63%       96.99%
  10/13/2020   SOUTHERN      SOUTH FLORIDA        91.55%       90.75%
  10/13/2020   SOUTHERN      SUNCOAST             90.91%       88.61%
  10/13/2020   WESTERN       ALASKA               91.85%       97.11%
  10/13/2020   WESTERN       ARIZONA              87.57%       85.09%
  10/13/2020   WESTERN       CENTRAL PLAINS       95.90%       97.22%
  10/13/2020   WESTERN       COLORADO/WYOMIN      85.81%       85.07%
  10/13/2020   WESTERN       DAKOTAS              94.07%       96.05%
  10/13/2020   WESTERN       HAWKEYE              91.22%       91.35%
  10/13/2020   WESTERN       MID-AMERICA          88.25%       93.66%
  10/13/2020   WESTERN       NEVADA SIERRA        92.58%       94.87%
  10/13/2020   WESTERN       NORTHLAND            91.26%       93.84%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 22 of 41


  10/13/2020   WESTERN         PORTLAND             93.28%     96.37%
  10/13/2020   WESTERN         SALT LAKE CITY       93.72%     94.98%
  10/13/2020   WESTERN         SEATTLE              93.20%     97.00%
  10/14/2020   CAPITAL METRO   ATLANTA              57.07%     60.22%
  10/14/2020   CAPITAL METRO   BALTIMORE            29.78%     85.27%
  10/14/2020   CAPITAL METRO   CAPITAL              54.96%     90.76%
  10/14/2020   CAPITAL METRO   GREATER S CAROLINA   58.67%     92.45%
  10/14/2020   CAPITAL METRO   GREENSBORO           49.17%     85.80%
  10/14/2020   CAPITAL METRO   MID-CAROLINAS        39.93%     91.31%
  10/14/2020   CAPITAL METRO   NORTHERN VIRGINIA    35.48%     95.26%
  10/14/2020   CAPITAL METRO   RICHMOND             56.25%     91.00%
  10/14/2020   EASTERN         APPALACHIAN          76.82%     94.53%
                               CENTRAL
  10/14/2020   EASTERN         PENNSYLVANIA         51.28%     88.54%
  10/14/2020   EASTERN         KENTUCKIANA          64.32%     95.35%
  10/14/2020   EASTERN         NORTHERN OHIO        50.42%     67.57%
  10/14/2020   EASTERN         OHIO VALLEY          59.86%     88.82%
                               PHILADELPHIA
  10/14/2020   EASTERN         METROPO              26.48%     64.57%
  10/14/2020   EASTERN         SOUTH JERSEY         52.97%     89.24%
  10/14/2020   EASTERN         TENNESSEE            76.35%     92.32%
  10/14/2020   EASTERN         WESTERN NEW YORK     72.06%     95.05%
                               WESTERN
  10/14/2020   EASTERN         PENNSYLVANIA         59.20%     96.43%
  10/14/2020   GREAT LAKES     CENTRAL ILLINOIS     48.67%     85.69%
  10/14/2020   GREAT LAKES     CHICAGO              61.29%     88.99%
  10/14/2020   GREAT LAKES     DETROIT              40.64%     65.71%
  10/14/2020   GREAT LAKES     GATEWAY              64.79%     89.07%
  10/14/2020   GREAT LAKES     GREATER INDIANA      61.17%     88.68%
  10/14/2020   GREAT LAKES     GREATER MICHIGAN     63.27%     81.44%
  10/14/2020   GREAT LAKES     LAKELAND             64.54%     88.93%
  10/14/2020   NORTHEAST       ALBANY               68.37%     95.56%
  10/14/2020   NORTHEAST       CARIBBEAN            98.25%     63.58%
  10/14/2020   NORTHEAST       CONNECTICUT VALLEY   64.06%     94.62%
  10/14/2020   NORTHEAST       GREATER BOSTON       64.48%     93.80%
  10/14/2020   NORTHEAST       LONG ISLAND          59.03%     94.94%
  10/14/2020   NORTHEAST       NEW YORK             59.39%     91.91%
                               NORTHERN NEW
  10/14/2020 NORTHEAST         ENGLAND              71.09%     92.72%
                               NORTHERN NEW
  10/14/2020   NORTHEAST       JERSEY               64.09%     92.05%
  10/14/2020   NORTHEAST       TRIBORO              76.41%     93.46%
  10/14/2020   NORTHEAST       WESTCHESTER          75.99%     93.38%
  10/14/2020   PACIFIC         BAY-VALLEY           86.24%     95.26%
  10/14/2020   PACIFIC         HONOLULU             61.39%     71.40%
  10/14/2020   PACIFIC         LOS ANGELES          65.08%     96.09%
  10/14/2020   PACIFIC         SACRAMENTO           82.92%     91.83%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 23 of 41


  10/14/2020   PACIFIC         SAN DIEGO            80.28%     97.71%
  10/14/2020   PACIFIC         SAN FRANCISCO        82.56%     95.34%
  10/14/2020   PACIFIC         SANTA ANA            86.23%     97.18%
  10/14/2020   PACIFIC         SIERRA COASTAL       71.92%     97.94%
  10/14/2020   SOUTHERN        ALABAMA              55.22%     55.07%
  10/14/2020   SOUTHERN        ARKANSAS             74.50%     95.38%
  10/14/2020   SOUTHERN        DALLAS               51.97%     94.15%
  10/14/2020   SOUTHERN        FT WORTH             80.78%     95.04%
  10/14/2020   SOUTHERN        GULF ATLANTIC        54.03%     86.98%
  10/14/2020   SOUTHERN        HOUSTON              78.17%     91.90%
  10/14/2020   SOUTHERN        LOUISIANA            64.04%     90.38%
  10/14/2020   SOUTHERN        MISSISSIPPI          39.96%     76.36%
  10/14/2020   SOUTHERN        OKLAHOMA             88.92%     94.43%
  10/14/2020   SOUTHERN        RIO GRANDE           78.15%     95.41%
  10/14/2020   SOUTHERN        SOUTH FLORIDA        37.97%     59.96%
  10/14/2020   SOUTHERN        SUNCOAST             68.98%     91.92%
  10/14/2020   WESTERN         ALASKA               84.14%     95.35%
  10/14/2020   WESTERN         ARIZONA              56.94%     76.46%
  10/14/2020   WESTERN         CENTRAL PLAINS       81.81%     95.05%
  10/14/2020   WESTERN         COLORADO/WYOMIN      39.07%     78.79%
  10/14/2020   WESTERN         DAKOTAS              78.37%     89.01%
  10/14/2020   WESTERN         HAWKEYE              73.77%     79.60%
  10/14/2020   WESTERN         MID-AMERICA          66.68%     86.55%
  10/14/2020   WESTERN         NEVADA SIERRA        83.36%     94.48%
  10/14/2020   WESTERN         NORTHLAND            50.12%     84.61%
  10/14/2020   WESTERN         PORTLAND             75.65%     91.70%
  10/14/2020   WESTERN         SALT LAKE CITY       62.45%     82.90%
  10/14/2020   WESTERN         SEATTLE              65.37%     92.32%
  10/15/2020   CAPITAL METRO   ATLANTA              89.14%     66.33%
  10/15/2020   CAPITAL METRO   BALTIMORE            64.29%     60.94%
  10/15/2020   CAPITAL METRO   CAPITAL              87.11%     90.64%
  10/15/2020   CAPITAL METRO   GREATER S CAROLINA   90.61%     91.57%
  10/15/2020   CAPITAL METRO   GREENSBORO           85.11%     71.18%
  10/15/2020   CAPITAL METRO   MID-CAROLINAS        90.57%     91.98%
  10/15/2020   CAPITAL METRO   NORTHERN VIRGINIA    92.71%     93.28%
  10/15/2020   CAPITAL METRO   RICHMOND             91.69%     85.91%
  10/15/2020   EASTERN         APPALACHIAN          92.20%     91.90%
                               CENTRAL
  10/15/2020   EASTERN         PENNSYLVANIA         84.70%     89.34%
  10/15/2020   EASTERN         KENTUCKIANA          92.22%     94.86%
  10/15/2020   EASTERN         NORTHERN OHIO        89.42%     63.14%
  10/15/2020   EASTERN         OHIO VALLEY          90.21%     85.24%
                               PHILADELPHIA
  10/15/2020   EASTERN         METROPO              81.34%     59.91%
  10/15/2020   EASTERN         SOUTH JERSEY         95.14%     83.05%
  10/15/2020   EASTERN         TENNESSEE            93.53%     87.94%
  10/15/2020   EASTERN         WESTERN NEW YORK     95.41%     94.93%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 24 of 41


                             WESTERN
  10/15/2020   EASTERN       PENNSYLVANIA         92.43%       88.58%
  10/15/2020   GREAT LAKES   CENTRAL ILLINOIS     88.02%       85.07%
  10/15/2020   GREAT LAKES   CHICAGO              92.05%       93.75%
  10/15/2020   GREAT LAKES   DETROIT              79.22%       65.79%
  10/15/2020   GREAT LAKES   GATEWAY              92.94%       90.34%
  10/15/2020   GREAT LAKES   GREATER INDIANA      94.65%       92.48%
  10/15/2020   GREAT LAKES   GREATER MICHIGAN     92.08%       87.01%
  10/15/2020   GREAT LAKES   LAKELAND             93.21%       92.74%
  10/15/2020   NORTHEAST     ALBANY               91.60%       91.43%
  10/15/2020   NORTHEAST     CARIBBEAN            97.75%       97.08%
  10/15/2020   NORTHEAST     CONNECTICUT VALLEY   94.61%       93.54%
  10/15/2020   NORTHEAST     GREATER BOSTON       95.73%       89.95%
  10/15/2020   NORTHEAST     LONG ISLAND          92.40%       92.53%
  10/15/2020   NORTHEAST     NEW YORK             95.06%       97.07%
                             NORTHERN NEW
  10/15/2020 NORTHEAST       ENGLAND              93.82%       91.45%
                             NORTHERN NEW
  10/15/2020   NORTHEAST     JERSEY               95.74%       84.46%
  10/15/2020   NORTHEAST     TRIBORO              94.17%       88.40%
  10/15/2020   NORTHEAST     WESTCHESTER          93.76%       83.28%
  10/15/2020   PACIFIC       BAY-VALLEY           96.77%       93.37%
  10/15/2020   PACIFIC       HONOLULU             84.35%       80.23%
  10/15/2020   PACIFIC       LOS ANGELES          93.26%       95.56%
  10/15/2020   PACIFIC       SACRAMENTO           95.94%       91.27%
  10/15/2020   PACIFIC       SAN DIEGO            94.53%       93.93%
  10/15/2020   PACIFIC       SAN FRANCISCO        96.24%       95.59%
  10/15/2020   PACIFIC       SANTA ANA            94.84%       96.89%
  10/15/2020   PACIFIC       SIERRA COASTAL       95.50%       96.34%
  10/15/2020   SOUTHERN      ALABAMA              88.77%       63.26%
  10/15/2020   SOUTHERN      ARKANSAS             93.95%       93.76%
  10/15/2020   SOUTHERN      DALLAS               90.42%       95.76%
  10/15/2020   SOUTHERN      FT WORTH             94.81%       96.68%
  10/15/2020   SOUTHERN      GULF ATLANTIC        93.47%       90.28%
  10/15/2020   SOUTHERN      HOUSTON              95.62%       95.62%
  10/15/2020   SOUTHERN      LOUISIANA            96.61%       92.95%
  10/15/2020   SOUTHERN      MISSISSIPPI          83.42%       76.12%
  10/15/2020   SOUTHERN      OKLAHOMA             97.55%       93.57%
  10/15/2020   SOUTHERN      RIO GRANDE           95.95%       96.17%
  10/15/2020   SOUTHERN      SOUTH FLORIDA        84.51%       81.73%
  10/15/2020   SOUTHERN      SUNCOAST             92.98%       93.31%
  10/15/2020   WESTERN       ALASKA               90.57%       97.12%
  10/15/2020   WESTERN       ARIZONA              93.74%       68.77%
  10/15/2020   WESTERN       CENTRAL PLAINS       97.40%       93.87%
  10/15/2020   WESTERN       COLORADO/WYOMIN      86.83%       84.55%
  10/15/2020   WESTERN       DAKOTAS              95.66%       94.57%
  10/15/2020   WESTERN       HAWKEYE              95.51%       86.84%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 25 of 41


  10/15/2020   WESTERN         MID-AMERICA          93.49%     88.34%
  10/15/2020   WESTERN         NEVADA SIERRA        96.11%     96.14%
  10/15/2020   WESTERN         NORTHLAND            93.84%     85.81%
  10/15/2020   WESTERN         PORTLAND             94.87%     95.25%
  10/15/2020   WESTERN         SALT LAKE CITY       93.15%     94.08%
  10/15/2020   WESTERN         SEATTLE              95.68%     96.34%
  10/16/2020   CAPITAL METRO   ATLANTA              93.40%     70.11%
  10/16/2020   CAPITAL METRO   BALTIMORE            74.28%     86.11%
  10/16/2020   CAPITAL METRO   CAPITAL              89.05%     95.26%
  10/16/2020   CAPITAL METRO   GREATER S CAROLINA   91.53%     94.89%
  10/16/2020   CAPITAL METRO   GREENSBORO           85.73%     85.34%
  10/16/2020   CAPITAL METRO   MID-CAROLINAS        92.06%     93.80%
  10/16/2020   CAPITAL METRO   NORTHERN VIRGINIA    89.72%     92.48%
  10/16/2020   CAPITAL METRO   RICHMOND             91.89%     89.63%
  10/16/2020   EASTERN         APPALACHIAN          89.12%     95.60%
                               CENTRAL
  10/16/2020   EASTERN         PENNSYLVANIA         83.33%     94.06%
  10/16/2020   EASTERN         KENTUCKIANA          92.89%     96.74%
  10/16/2020   EASTERN         NORTHERN OHIO        86.61%     83.88%
  10/16/2020   EASTERN         OHIO VALLEY          89.23%     92.60%
                               PHILADELPHIA
  10/16/2020   EASTERN         METROPO              83.93%     87.17%
  10/16/2020   EASTERN         SOUTH JERSEY         89.56%     91.66%
  10/16/2020   EASTERN         TENNESSEE            92.84%     91.91%
  10/16/2020   EASTERN         WESTERN NEW YORK     95.90%     96.00%
                               WESTERN
  10/16/2020   EASTERN         PENNSYLVANIA         90.61%     95.55%
  10/16/2020   GREAT LAKES     CENTRAL ILLINOIS     91.57%     90.38%
  10/16/2020   GREAT LAKES     CHICAGO              92.79%     93.64%
  10/16/2020   GREAT LAKES     DETROIT              79.02%     82.67%
  10/16/2020   GREAT LAKES     GATEWAY              95.05%     93.51%
  10/16/2020   GREAT LAKES     GREATER INDIANA      95.02%     94.42%
  10/16/2020   GREAT LAKES     GREATER MICHIGAN     91.39%     93.73%
  10/16/2020   GREAT LAKES     LAKELAND             94.50%     94.97%
  10/16/2020   NORTHEAST       ALBANY               92.51%     95.25%
  10/16/2020   NORTHEAST       CARIBBEAN            98.12%     97.12%
  10/16/2020   NORTHEAST       CONNECTICUT VALLEY   94.27%     95.32%
  10/16/2020   NORTHEAST       GREATER BOSTON       92.20%     94.45%
  10/16/2020   NORTHEAST       LONG ISLAND          91.07%     93.54%
  10/16/2020   NORTHEAST       NEW YORK             93.81%     94.51%
                               NORTHERN NEW
  10/16/2020 NORTHEAST         ENGLAND              94.70%     97.29%
                               NORTHERN NEW
  10/16/2020   NORTHEAST       JERSEY               94.64%     87.24%
  10/16/2020   NORTHEAST       TRIBORO              95.11%     90.96%
  10/16/2020   NORTHEAST       WESTCHESTER          90.75%     93.82%
  10/16/2020   PACIFIC         BAY-VALLEY           96.99%     96.92%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 26 of 41


  10/16/2020   PACIFIC         HONOLULU             94.19%     75.52%
  10/16/2020   PACIFIC         LOS ANGELES          97.50%     96.50%
  10/16/2020   PACIFIC         SACRAMENTO           95.31%     95.70%
  10/16/2020   PACIFIC         SAN DIEGO            96.56%     96.27%
  10/16/2020   PACIFIC         SAN FRANCISCO        96.55%     98.11%
  10/16/2020   PACIFIC         SANTA ANA            96.11%     98.14%
  10/16/2020   PACIFIC         SIERRA COASTAL       95.43%     97.98%
  10/16/2020   SOUTHERN        ALABAMA              88.70%     89.95%
  10/16/2020   SOUTHERN        ARKANSAS             94.92%     96.73%
  10/16/2020   SOUTHERN        DALLAS               94.97%     96.26%
  10/16/2020   SOUTHERN        FT WORTH             94.25%     97.77%
  10/16/2020   SOUTHERN        GULF ATLANTIC        91.39%     91.36%
  10/16/2020   SOUTHERN        HOUSTON              96.00%     97.29%
  10/16/2020   SOUTHERN        LOUISIANA            95.31%     95.07%
  10/16/2020   SOUTHERN        MISSISSIPPI          88.48%     87.72%
  10/16/2020   SOUTHERN        OKLAHOMA             95.23%     97.30%
  10/16/2020   SOUTHERN        RIO GRANDE           95.28%     97.69%
  10/16/2020   SOUTHERN        SOUTH FLORIDA        94.56%     91.66%
  10/16/2020   SOUTHERN        SUNCOAST             94.35%     96.85%
  10/16/2020   WESTERN         ALASKA               95.88%     97.28%
  10/16/2020   WESTERN         ARIZONA              96.16%     90.31%
  10/16/2020   WESTERN         CENTRAL PLAINS       98.04%     95.51%
  10/16/2020   WESTERN         COLORADO/WYOMIN      83.31%     86.80%
  10/16/2020   WESTERN         DAKOTAS              95.57%     96.63%
  10/16/2020   WESTERN         HAWKEYE              93.77%     96.27%
  10/16/2020   WESTERN         MID-AMERICA          93.86%     95.32%
  10/16/2020   WESTERN         NEVADA SIERRA        97.40%     97.70%
  10/16/2020   WESTERN         NORTHLAND            94.02%     95.15%
  10/16/2020   WESTERN         PORTLAND             96.21%     97.36%
  10/16/2020   WESTERN         SALT LAKE CITY       96.98%     95.06%
  10/16/2020   WESTERN         SEATTLE              96.03%     98.43%
  10/17/2020   CAPITAL METRO   ATLANTA              81.29%     50.86%
  10/17/2020   CAPITAL METRO   BALTIMORE            59.66%     85.95%
  10/17/2020   CAPITAL METRO   CAPITAL              68.27%     95.18%
  10/17/2020   CAPITAL METRO   GREATER S CAROLINA   77.30%     92.98%
  10/17/2020   CAPITAL METRO   GREENSBORO           69.53%     73.95%
  10/17/2020   CAPITAL METRO   MID-CAROLINAS        86.84%     88.32%
  10/17/2020   CAPITAL METRO   NORTHERN VIRGINIA    74.07%     92.86%
  10/17/2020   CAPITAL METRO   RICHMOND             84.34%     89.36%
  10/17/2020   EASTERN         APPALACHIAN          86.33%     95.67%
                               CENTRAL
  10/17/2020   EASTERN         PENNSYLVANIA         74.53%     60.13%
  10/17/2020   EASTERN         KENTUCKIANA          84.87%     93.41%
  10/17/2020   EASTERN         NORTHERN OHIO        80.74%     73.12%
  10/17/2020   EASTERN         OHIO VALLEY          82.48%     92.23%
                               PHILADELPHIA
  10/17/2020 EASTERN           METROPO              72.57%     72.45%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 27 of 41


  10/17/2020 EASTERN         SOUTH JERSEY         77.99%       84.11%
  10/17/2020 EASTERN         TENNESSEE            84.07%       87.64%
  10/17/2020 EASTERN         WESTERN NEW YORK     89.56%       84.62%
                             WESTERN
  10/17/2020   EASTERN       PENNSYLVANIA         84.94%       96.58%
  10/17/2020   GREAT LAKES   CENTRAL ILLINOIS     83.28%       84.90%
  10/17/2020   GREAT LAKES   CHICAGO              88.50%       95.72%
  10/17/2020   GREAT LAKES   DETROIT              74.72%       76.59%
  10/17/2020   GREAT LAKES   GATEWAY              86.75%       89.73%
  10/17/2020   GREAT LAKES   GREATER INDIANA      91.69%       91.43%
  10/17/2020   GREAT LAKES   GREATER MICHIGAN     85.24%       93.74%
  10/17/2020   GREAT LAKES   LAKELAND             87.95%       92.68%
  10/17/2020   NORTHEAST     ALBANY               89.63%       96.07%
  10/17/2020   NORTHEAST     CARIBBEAN            94.85%       98.12%
  10/17/2020   NORTHEAST     CONNECTICUT VALLEY   86.87%       94.55%
  10/17/2020   NORTHEAST     GREATER BOSTON       88.47%       91.29%
  10/17/2020   NORTHEAST     LONG ISLAND          84.41%       90.09%
  10/17/2020   NORTHEAST     NEW YORK             86.72%       95.43%
                             NORTHERN NEW
  10/17/2020 NORTHEAST       ENGLAND              88.26%       95.37%
                             NORTHERN NEW
  10/17/2020   NORTHEAST     JERSEY               88.54%       89.32%
  10/17/2020   NORTHEAST     TRIBORO              84.69%       89.09%
  10/17/2020   NORTHEAST     WESTCHESTER          86.69%       92.98%
  10/17/2020   PACIFIC       BAY-VALLEY           90.79%       94.89%
  10/17/2020   PACIFIC       HONOLULU             97.07%       85.78%
  10/17/2020   PACIFIC       LOS ANGELES          94.43%       94.54%
  10/17/2020   PACIFIC       SACRAMENTO           91.06%       94.68%
  10/17/2020   PACIFIC       SAN DIEGO            91.36%       93.26%
  10/17/2020   PACIFIC       SAN FRANCISCO        92.98%       94.78%
  10/17/2020   PACIFIC       SANTA ANA            90.07%       97.78%
  10/17/2020   PACIFIC       SIERRA COASTAL       89.69%       95.27%
  10/17/2020   SOUTHERN      ALABAMA              78.21%       86.43%
  10/17/2020   SOUTHERN      ARKANSAS             90.11%       94.35%
  10/17/2020   SOUTHERN      DALLAS               86.84%       94.27%
  10/17/2020   SOUTHERN      FT WORTH             85.83%       92.12%
  10/17/2020   SOUTHERN      GULF ATLANTIC        80.85%       90.38%
  10/17/2020   SOUTHERN      HOUSTON              86.99%       93.25%
  10/17/2020   SOUTHERN      LOUISIANA            88.59%       93.30%
  10/17/2020   SOUTHERN      MISSISSIPPI          69.71%       86.10%
  10/17/2020   SOUTHERN      OKLAHOMA             89.06%       94.71%
  10/17/2020   SOUTHERN      RIO GRANDE           85.94%       95.75%
  10/17/2020   SOUTHERN      SOUTH FLORIDA        86.42%       89.90%
  10/17/2020   SOUTHERN      SUNCOAST             84.42%       84.89%
  10/17/2020   WESTERN       ALASKA               91.06%       96.00%
  10/17/2020   WESTERN       ARIZONA              86.96%       80.98%
  10/17/2020   WESTERN       CENTRAL PLAINS       90.90%       95.84%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 28 of 41


  10/17/2020   WESTERN         COLORADO/WYOMIN      76.36%     62.92%
  10/17/2020   WESTERN         DAKOTAS              91.67%     96.99%
  10/17/2020   WESTERN         HAWKEYE              85.66%     93.99%
  10/17/2020   WESTERN         MID-AMERICA          85.94%     84.22%
  10/17/2020   WESTERN         NEVADA SIERRA        89.38%     95.98%
  10/17/2020   WESTERN         NORTHLAND            85.80%     93.95%
  10/17/2020   WESTERN         PORTLAND             88.34%     92.56%
  10/17/2020   WESTERN         SALT LAKE CITY       88.32%     93.68%
  10/17/2020   WESTERN         SEATTLE              83.26%     92.30%
  10/19/2020   CAPITAL METRO   ATLANTA              87.81%     46.01%
  10/19/2020   CAPITAL METRO   BALTIMORE            63.32%     75.17%
  10/19/2020   CAPITAL METRO   CAPITAL              79.00%     94.93%
  10/19/2020   CAPITAL METRO   GREATER S CAROLINA   80.18%     90.34%
  10/19/2020   CAPITAL METRO   GREENSBORO           75.95%     65.66%
  10/19/2020   CAPITAL METRO   MID-CAROLINAS        87.82%     90.52%
  10/19/2020   CAPITAL METRO   NORTHERN VIRGINIA    85.52%     93.36%
  10/19/2020   CAPITAL METRO   RICHMOND             88.32%     88.04%
  10/19/2020   EASTERN         APPALACHIAN          85.99%     94.63%
                               CENTRAL
  10/19/2020   EASTERN         PENNSYLVANIA         76.86%     87.60%
  10/19/2020   EASTERN         KENTUCKIANA          85.27%     90.72%
  10/19/2020   EASTERN         NORTHERN OHIO        84.28%     72.31%
  10/19/2020   EASTERN         OHIO VALLEY          81.49%     76.15%
                               PHILADELPHIA
  10/19/2020   EASTERN         METROPO              69.33%     60.98%
  10/19/2020   EASTERN         SOUTH JERSEY         84.66%     85.97%
  10/19/2020   EASTERN         TENNESSEE            87.22%     90.37%
  10/19/2020   EASTERN         WESTERN NEW YORK     89.57%     92.28%
                               WESTERN
  10/19/2020   EASTERN         PENNSYLVANIA         89.74%     95.42%
  10/19/2020   GREAT LAKES     CENTRAL ILLINOIS     88.76%     80.57%
  10/19/2020   GREAT LAKES     CHICAGO              92.71%     87.78%
  10/19/2020   GREAT LAKES     DETROIT              77.98%     76.28%
  10/19/2020   GREAT LAKES     GATEWAY              88.33%     90.81%
  10/19/2020   GREAT LAKES     GREATER INDIANA      92.96%     92.62%
  10/19/2020   GREAT LAKES     GREATER MICHIGAN     87.24%     87.46%
  10/19/2020   GREAT LAKES     LAKELAND             90.17%     94.05%
  10/19/2020   NORTHEAST       ALBANY               89.66%     95.98%
  10/19/2020   NORTHEAST       CARIBBEAN            95.73%     95.45%
  10/19/2020   NORTHEAST       CONNECTICUT VALLEY   90.26%     95.35%
  10/19/2020   NORTHEAST       GREATER BOSTON       91.05%     90.97%
  10/19/2020   NORTHEAST       LONG ISLAND          88.23%     89.11%
  10/19/2020   NORTHEAST       NEW YORK             89.95%     96.99%
                               NORTHERN NEW
  10/19/2020 NORTHEAST         ENGLAND              90.10%     93.25%
                               NORTHERN NEW
  10/19/2020 NORTHEAST         JERSEY               90.16%     89.81%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 29 of 41


  10/19/2020   NORTHEAST       TRIBORO              93.24%     93.96%
  10/19/2020   NORTHEAST       WESTCHESTER          89.10%     89.10%
  10/19/2020   PACIFIC         BAY-VALLEY           93.27%     95.82%
  10/19/2020   PACIFIC         HONOLULU             93.67%     68.67%
  10/19/2020   PACIFIC         LOS ANGELES          93.84%     96.34%
  10/19/2020   PACIFIC         SACRAMENTO           93.14%     90.89%
  10/19/2020   PACIFIC         SAN DIEGO            93.30%     95.54%
  10/19/2020   PACIFIC         SAN FRANCISCO        94.32%     96.77%
  10/19/2020   PACIFIC         SANTA ANA            94.85%     97.66%
  10/19/2020   PACIFIC         SIERRA COASTAL       93.45%     97.11%
  10/19/2020   SOUTHERN        ALABAMA              80.75%     81.23%
  10/19/2020   SOUTHERN        ARKANSAS             91.39%     93.03%
  10/19/2020   SOUTHERN        DALLAS               91.38%     95.26%
  10/19/2020   SOUTHERN        FT WORTH             90.15%     94.39%
  10/19/2020   SOUTHERN        GULF ATLANTIC        83.88%     90.74%
  10/19/2020   SOUTHERN        HOUSTON              89.58%     95.82%
  10/19/2020   SOUTHERN        LOUISIANA            89.19%     91.45%
  10/19/2020   SOUTHERN        MISSISSIPPI          81.61%     88.45%
  10/19/2020   SOUTHERN        OKLAHOMA             94.47%     96.14%
  10/19/2020   SOUTHERN        RIO GRANDE           92.47%     94.29%
  10/19/2020   SOUTHERN        SOUTH FLORIDA        89.54%     91.63%
  10/19/2020   SOUTHERN        SUNCOAST             89.63%     94.43%
  10/19/2020   WESTERN         ALASKA               90.91%     94.39%
  10/19/2020   WESTERN         ARIZONA              84.91%     84.78%
  10/19/2020   WESTERN         CENTRAL PLAINS       93.28%     93.31%
  10/19/2020   WESTERN         COLORADO/WYOMIN      77.99%     66.79%
  10/19/2020   WESTERN         DAKOTAS              91.17%     94.11%
  10/19/2020   WESTERN         HAWKEYE              89.44%     94.21%
  10/19/2020   WESTERN         MID-AMERICA          86.69%     88.30%
  10/19/2020   WESTERN         NEVADA SIERRA        87.49%     93.63%
  10/19/2020   WESTERN         NORTHLAND            82.90%     88.40%
  10/19/2020   WESTERN         PORTLAND             88.20%     95.25%
  10/19/2020   WESTERN         SALT LAKE CITY       91.18%     93.71%
  10/19/2020   WESTERN         SEATTLE              86.18%     93.14%
  10/20/2020   CAPITAL METRO   ATLANTA              53.66%     70.17%
  10/20/2020   CAPITAL METRO   BALTIMORE            37.22%     80.69%
  10/20/2020   CAPITAL METRO   CAPITAL              48.08%     97.76%
  10/20/2020   CAPITAL METRO   GREATER S CAROLINA   44.65%     96.54%
  10/20/2020   CAPITAL METRO   GREENSBORO           32.89%     71.80%
  10/20/2020   CAPITAL METRO   MID-CAROLINAS        64.17%     88.71%
  10/20/2020   CAPITAL METRO   NORTHERN VIRGINIA    57.87%     96.33%
  10/20/2020   CAPITAL METRO   RICHMOND             67.00%     93.90%
  10/20/2020   EASTERN         APPALACHIAN          63.65%     95.88%
                               CENTRAL
  10/20/2020 EASTERN           PENNSYLVANIA         45.07%     78.16%
  10/20/2020 EASTERN           KENTUCKIANA          65.86%     96.85%
  10/20/2020 EASTERN           NORTHERN OHIO        51.68%     79.45%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 30 of 41


  10/20/2020 EASTERN         OHIO VALLEY          45.53%       91.32%
                             PHILADELPHIA
  10/20/2020   EASTERN       METROPO              35.75%       83.88%
  10/20/2020   EASTERN       SOUTH JERSEY         36.73%       94.99%
  10/20/2020   EASTERN       TENNESSEE            59.64%       93.56%
  10/20/2020   EASTERN       WESTERN NEW YORK     64.96%       94.47%
                             WESTERN
  10/20/2020   EASTERN       PENNSYLVANIA         65.05%       96.00%
  10/20/2020   GREAT LAKES   CENTRAL ILLINOIS     57.89%       88.64%
  10/20/2020   GREAT LAKES   CHICAGO              51.53%       94.20%
  10/20/2020   GREAT LAKES   DETROIT              43.98%       81.42%
  10/20/2020   GREAT LAKES   GATEWAY              57.42%       90.65%
  10/20/2020   GREAT LAKES   GREATER INDIANA      68.93%       93.87%
  10/20/2020   GREAT LAKES   GREATER MICHIGAN     59.46%       89.78%
  10/20/2020   GREAT LAKES   LAKELAND             52.07%       95.22%
  10/20/2020   NORTHEAST     ALBANY               65.01%       97.77%
  10/20/2020   NORTHEAST     CARIBBEAN            85.97%       65.57%
  10/20/2020   NORTHEAST     CONNECTICUT VALLEY   79.84%       96.90%
  10/20/2020   NORTHEAST     GREATER BOSTON       65.66%       93.72%
  10/20/2020   NORTHEAST     LONG ISLAND          68.51%       97.07%
  10/20/2020   NORTHEAST     NEW YORK             74.16%       96.86%
                             NORTHERN NEW
  10/20/2020 NORTHEAST       ENGLAND              73.69%       95.31%
                             NORTHERN NEW
  10/20/2020   NORTHEAST     JERSEY               67.38%       95.92%
  10/20/2020   NORTHEAST     TRIBORO              79.15%       92.88%
  10/20/2020   NORTHEAST     WESTCHESTER          62.84%       94.99%
  10/20/2020   PACIFIC       BAY-VALLEY           66.35%       93.81%
  10/20/2020   PACIFIC       HONOLULU             62.22%       60.92%
  10/20/2020   PACIFIC       LOS ANGELES          78.02%       96.13%
  10/20/2020   PACIFIC       SACRAMENTO           75.82%       93.55%
  10/20/2020   PACIFIC       SAN DIEGO            69.77%       95.96%
  10/20/2020   PACIFIC       SAN FRANCISCO        70.92%       97.55%
  10/20/2020   PACIFIC       SANTA ANA            47.91%       99.09%
  10/20/2020   PACIFIC       SIERRA COASTAL       63.86%       97.61%
  10/20/2020   SOUTHERN      ALABAMA              49.63%       85.01%
  10/20/2020   SOUTHERN      ARKANSAS             67.05%       96.12%
  10/20/2020   SOUTHERN      DALLAS               71.55%       94.59%
  10/20/2020   SOUTHERN      FT WORTH             57.51%       94.33%
  10/20/2020   SOUTHERN      GULF ATLANTIC        52.98%       89.35%
  10/20/2020   SOUTHERN      HOUSTON              67.82%       95.90%
  10/20/2020   SOUTHERN      LOUISIANA            62.72%       89.06%
  10/20/2020   SOUTHERN      MISSISSIPPI          43.62%       81.33%
  10/20/2020   SOUTHERN      OKLAHOMA             64.86%       97.18%
  10/20/2020   SOUTHERN      RIO GRANDE           70.64%       95.46%
  10/20/2020   SOUTHERN      SOUTH FLORIDA        64.33%       89.75%
  10/20/2020   SOUTHERN      SUNCOAST             61.26%       94.66%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 31 of 41


  10/20/2020   WESTERN         ALASKA               68.84%     95.31%
  10/20/2020   WESTERN         ARIZONA              60.49%     83.99%
  10/20/2020   WESTERN         CENTRAL PLAINS       76.81%     94.89%
  10/20/2020   WESTERN         COLORADO/WYOMIN      50.13%     50.54%
  10/20/2020   WESTERN         DAKOTAS              69.99%     92.37%
  10/20/2020   WESTERN         HAWKEYE              65.05%     91.66%
  10/20/2020   WESTERN         MID-AMERICA          50.97%     87.78%
  10/20/2020   WESTERN         NEVADA SIERRA        77.90%     95.95%
  10/20/2020   WESTERN         NORTHLAND            59.09%     93.44%
  10/20/2020   WESTERN         PORTLAND             62.87%     90.42%
  10/20/2020   WESTERN         SALT LAKE CITY       68.41%     94.62%
  10/20/2020   WESTERN         SEATTLE              58.64%     91.87%
  10/21/2020   CAPITAL METRO   ATLANTA              66.93%     64.88%
  10/21/2020   CAPITAL METRO   BALTIMORE            50.88%     85.74%
  10/21/2020   CAPITAL METRO   CAPITAL              60.99%     92.41%
  10/21/2020   CAPITAL METRO   GREATER S CAROLINA   68.24%     87.57%
  10/21/2020   CAPITAL METRO   GREENSBORO           49.12%     54.73%
  10/21/2020   CAPITAL METRO   MID-CAROLINAS        62.27%     81.36%
  10/21/2020   CAPITAL METRO   NORTHERN VIRGINIA    72.35%     93.92%
  10/21/2020   CAPITAL METRO   RICHMOND             81.41%     91.93%
  10/21/2020   EASTERN         APPALACHIAN          86.01%     96.36%
                               CENTRAL
  10/21/2020   EASTERN         PENNSYLVANIA         61.78%     75.38%
  10/21/2020   EASTERN         KENTUCKIANA          76.61%     91.78%
  10/21/2020   EASTERN         NORTHERN OHIO        68.77%     56.31%
  10/21/2020   EASTERN         OHIO VALLEY          74.53%     86.91%
                               PHILADELPHIA
  10/21/2020   EASTERN         METROPO              47.44%     52.98%
  10/21/2020   EASTERN         SOUTH JERSEY         66.75%     94.18%
  10/21/2020   EASTERN         TENNESSEE            81.44%     93.16%
  10/21/2020   EASTERN         WESTERN NEW YORK     89.68%     94.63%
                               WESTERN
  10/21/2020   EASTERN         PENNSYLVANIA         79.27%     94.35%
  10/21/2020   GREAT LAKES     CENTRAL ILLINOIS     68.95%     82.65%
  10/21/2020   GREAT LAKES     CHICAGO              70.61%     76.48%
  10/21/2020   GREAT LAKES     DETROIT              45.30%     79.23%
  10/21/2020   GREAT LAKES     GATEWAY              77.10%     91.03%
  10/21/2020   GREAT LAKES     GREATER INDIANA      83.51%     94.30%
  10/21/2020   GREAT LAKES     GREATER MICHIGAN     80.69%     95.45%
  10/21/2020   GREAT LAKES     LAKELAND             79.40%     92.98%
  10/21/2020   NORTHEAST       ALBANY               87.13%     96.18%
  10/21/2020   NORTHEAST       CARIBBEAN            97.53%     86.86%
  10/21/2020   NORTHEAST       CONNECTICUT VALLEY   81.08%     95.31%
  10/21/2020   NORTHEAST       GREATER BOSTON       85.58%     92.48%
  10/21/2020   NORTHEAST       LONG ISLAND          82.79%     94.23%
  10/21/2020   NORTHEAST       NEW YORK             77.74%     97.80%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 32 of 41


                               NORTHERN NEW
  10/21/2020 NORTHEAST         ENGLAND              78.25%     95.49%
                               NORTHERN NEW
  10/21/2020   NORTHEAST       JERSEY               84.35%     91.40%
  10/21/2020   NORTHEAST       TRIBORO              82.16%     92.90%
  10/21/2020   NORTHEAST       WESTCHESTER          83.95%     95.20%
  10/21/2020   PACIFIC         BAY-VALLEY           80.57%     97.58%
  10/21/2020   PACIFIC         HONOLULU             87.77%     84.74%
  10/21/2020   PACIFIC         LOS ANGELES          77.43%     97.73%
  10/21/2020   PACIFIC         SACRAMENTO           83.39%     95.17%
  10/21/2020   PACIFIC         SAN DIEGO            83.00%     95.42%
  10/21/2020   PACIFIC         SAN FRANCISCO        69.05%     98.59%
  10/21/2020   PACIFIC         SANTA ANA            82.93%     97.54%
  10/21/2020   PACIFIC         SIERRA COASTAL       80.92%     97.22%
  10/21/2020   SOUTHERN        ALABAMA              78.50%     89.93%
  10/21/2020   SOUTHERN        ARKANSAS             87.86%     94.98%
  10/21/2020   SOUTHERN        DALLAS               64.58%     93.87%
  10/21/2020   SOUTHERN        FT WORTH             84.89%     85.05%
  10/21/2020   SOUTHERN        GULF ATLANTIC        63.93%     87.16%
  10/21/2020   SOUTHERN        HOUSTON              75.36%     96.15%
  10/21/2020   SOUTHERN        LOUISIANA            86.21%     89.48%
  10/21/2020   SOUTHERN        MISSISSIPPI          66.13%     90.69%
  10/21/2020   SOUTHERN        OKLAHOMA             91.08%     96.63%
  10/21/2020   SOUTHERN        RIO GRANDE           83.25%     96.38%
  10/21/2020   SOUTHERN        SOUTH FLORIDA        54.61%     88.92%
  10/21/2020   SOUTHERN        SUNCOAST             72.61%     87.24%
  10/21/2020   WESTERN         ALASKA               81.16%     98.38%
  10/21/2020   WESTERN         ARIZONA              75.89%     85.48%
  10/21/2020   WESTERN         CENTRAL PLAINS       84.08%     94.19%
  10/21/2020   WESTERN         COLORADO/WYOMIN      62.45%     79.24%
  10/21/2020   WESTERN         DAKOTAS              88.16%     92.06%
  10/21/2020   WESTERN         HAWKEYE              85.90%     91.57%
  10/21/2020   WESTERN         MID-AMERICA          82.03%     84.81%
  10/21/2020   WESTERN         NEVADA SIERRA        84.17%     97.06%
  10/21/2020   WESTERN         NORTHLAND            78.89%     87.11%
  10/21/2020   WESTERN         PORTLAND             86.19%     94.94%
  10/21/2020   WESTERN         SALT LAKE CITY       78.47%     93.49%
  10/21/2020   WESTERN         SEATTLE              75.81%     93.91%
  10/22/2020   CAPITAL METRO   ATLANTA              90.46%     64.27%
  10/22/2020   CAPITAL METRO   BALTIMORE            59.18%     74.72%
  10/22/2020   CAPITAL METRO   CAPITAL              73.81%     89.26%
  10/22/2020   CAPITAL METRO   GREATER S CAROLINA   78.79%     81.81%
  10/22/2020   CAPITAL METRO   GREENSBORO           72.63%     42.82%
  10/22/2020   CAPITAL METRO   MID-CAROLINAS        88.93%     83.55%
  10/22/2020   CAPITAL METRO   NORTHERN VIRGINIA    89.08%     90.94%
  10/22/2020   CAPITAL METRO   RICHMOND             90.97%     91.68%
  10/22/2020   EASTERN         APPALACHIAN          89.08%     92.73%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 33 of 41


                             CENTRAL
  10/22/2020   EASTERN       PENNSYLVANIA         75.00%       67.45%
  10/22/2020   EASTERN       KENTUCKIANA          90.71%       96.26%
  10/22/2020   EASTERN       NORTHERN OHIO        84.89%       76.33%
  10/22/2020   EASTERN       OHIO VALLEY          85.95%       88.17%
                             PHILADELPHIA
  10/22/2020   EASTERN       METROPO              60.81%       56.16%
  10/22/2020   EASTERN       SOUTH JERSEY         81.73%       89.47%
  10/22/2020   EASTERN       TENNESSEE            92.36%       91.99%
  10/22/2020   EASTERN       WESTERN NEW YORK     93.02%       87.80%
                             WESTERN
  10/22/2020   EASTERN       PENNSYLVANIA         89.28%       95.60%
  10/22/2020   GREAT LAKES   CENTRAL ILLINOIS     84.26%       83.34%
  10/22/2020   GREAT LAKES   CHICAGO              87.56%       91.66%
  10/22/2020   GREAT LAKES   DETROIT              74.10%       78.14%
  10/22/2020   GREAT LAKES   GATEWAY              92.21%       91.83%
  10/22/2020   GREAT LAKES   GREATER INDIANA      93.39%       92.15%
  10/22/2020   GREAT LAKES   GREATER MICHIGAN     88.35%       89.92%
  10/22/2020   GREAT LAKES   LAKELAND             90.28%       95.14%
  10/22/2020   NORTHEAST     ALBANY               92.27%       95.05%
  10/22/2020   NORTHEAST     CARIBBEAN            95.08%       88.33%
  10/22/2020   NORTHEAST     CONNECTICUT VALLEY   92.16%       94.66%
  10/22/2020   NORTHEAST     GREATER BOSTON       87.20%       91.95%
  10/22/2020   NORTHEAST     LONG ISLAND          89.29%       95.72%
  10/22/2020   NORTHEAST     NEW YORK             90.71%       96.56%
                             NORTHERN NEW
  10/22/2020 NORTHEAST       ENGLAND              90.86%       92.12%
                             NORTHERN NEW
  10/22/2020   NORTHEAST     JERSEY               93.41%       92.69%
  10/22/2020   NORTHEAST     TRIBORO              93.19%       90.17%
  10/22/2020   NORTHEAST     WESTCHESTER          93.15%       91.62%
  10/22/2020   PACIFIC       BAY-VALLEY           83.43%       97.57%
  10/22/2020   PACIFIC       HONOLULU             85.98%       88.43%
  10/22/2020   PACIFIC       LOS ANGELES          94.27%       97.16%
  10/22/2020   PACIFIC       SACRAMENTO           93.69%       94.37%
  10/22/2020   PACIFIC       SAN DIEGO            95.08%       97.22%
  10/22/2020   PACIFIC       SAN FRANCISCO        86.07%       96.62%
  10/22/2020   PACIFIC       SANTA ANA            94.83%       97.49%
  10/22/2020   PACIFIC       SIERRA COASTAL       88.89%       97.96%
  10/22/2020   SOUTHERN      ALABAMA              87.74%       88.53%
  10/22/2020   SOUTHERN      ARKANSAS             92.45%       90.37%
  10/22/2020   SOUTHERN      DALLAS               91.12%       92.59%
  10/22/2020   SOUTHERN      FT WORTH             92.36%       86.29%
  10/22/2020   SOUTHERN      GULF ATLANTIC        85.04%       86.07%
  10/22/2020   SOUTHERN      HOUSTON              93.07%       94.40%
  10/22/2020   SOUTHERN      LOUISIANA            91.06%       91.39%
  10/22/2020   SOUTHERN      MISSISSIPPI          85.46%       90.49%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 34 of 41


  10/22/2020   SOUTHERN        OKLAHOMA             94.45%     94.20%
  10/22/2020   SOUTHERN        RIO GRANDE           88.24%     91.44%
  10/22/2020   SOUTHERN        SOUTH FLORIDA        82.42%     88.38%
  10/22/2020   SOUTHERN        SUNCOAST             90.25%     89.61%
  10/22/2020   WESTERN         ALASKA               93.24%     96.89%
  10/22/2020   WESTERN         ARIZONA              89.50%     83.39%
  10/22/2020   WESTERN         CENTRAL PLAINS       94.77%     94.43%
  10/22/2020   WESTERN         COLORADO/WYOMIN      82.73%     83.73%
  10/22/2020   WESTERN         DAKOTAS              94.22%     94.43%
  10/22/2020   WESTERN         HAWKEYE              92.20%     95.99%
  10/22/2020   WESTERN         MID-AMERICA          91.96%     92.36%
  10/22/2020   WESTERN         NEVADA SIERRA        89.33%     96.88%
  10/22/2020   WESTERN         NORTHLAND            91.99%     89.32%
  10/22/2020   WESTERN         PORTLAND             85.02%     96.21%
  10/22/2020   WESTERN         SALT LAKE CITY       94.60%     93.81%
  10/22/2020   WESTERN         SEATTLE              86.88%     97.02%
  10/23/2020   CAPITAL METRO   ATLANTA              88.03%     64.82%
  10/23/2020   CAPITAL METRO   BALTIMORE            54.34%     65.37%
  10/23/2020   CAPITAL METRO   CAPITAL              75.36%     93.48%
  10/23/2020   CAPITAL METRO   GREATER S CAROLINA   78.99%     79.80%
  10/23/2020   CAPITAL METRO   GREENSBORO           74.08%     61.88%
  10/23/2020   CAPITAL METRO   MID-CAROLINAS        88.27%     89.94%
  10/23/2020   CAPITAL METRO   NORTHERN VIRGINIA    84.38%     93.00%
  10/23/2020   CAPITAL METRO   RICHMOND             77.80%     85.70%
  10/23/2020   EASTERN         APPALACHIAN          90.53%     92.89%
                               CENTRAL
  10/23/2020   EASTERN         PENNSYLVANIA         74.44%     54.55%
  10/23/2020   EASTERN         KENTUCKIANA          90.27%     95.94%
  10/23/2020   EASTERN         NORTHERN OHIO        84.59%     64.03%
  10/23/2020   EASTERN         OHIO VALLEY          89.21%     72.39%
                               PHILADELPHIA
  10/23/2020   EASTERN         METROPO              66.41%     69.36%
  10/23/2020   EASTERN         SOUTH JERSEY         81.99%     88.88%
  10/23/2020   EASTERN         TENNESSEE            86.55%     84.92%
  10/23/2020   EASTERN         WESTERN NEW YORK     91.64%     93.80%
                               WESTERN
  10/23/2020   EASTERN         PENNSYLVANIA         87.86%     97.11%
  10/23/2020   GREAT LAKES     CENTRAL ILLINOIS     83.17%     87.04%
  10/23/2020   GREAT LAKES     CHICAGO              89.62%     90.15%
  10/23/2020   GREAT LAKES     DETROIT              78.42%     74.14%
  10/23/2020   GREAT LAKES     GATEWAY              90.51%     90.17%
  10/23/2020   GREAT LAKES     GREATER INDIANA      94.89%     90.05%
  10/23/2020   GREAT LAKES     GREATER MICHIGAN     89.97%     91.14%
  10/23/2020   GREAT LAKES     LAKELAND             91.27%     93.55%
  10/23/2020   NORTHEAST       ALBANY               89.81%     96.81%
  10/23/2020   NORTHEAST       CARIBBEAN            94.22%     88.87%
  10/23/2020   NORTHEAST       CONNECTICUT VALLEY   92.92%     94.71%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 35 of 41


  10/23/2020 NORTHEAST         GREATER BOSTON       90.13%     93.70%
  10/23/2020 NORTHEAST         LONG ISLAND          90.93%     93.05%
  10/23/2020 NORTHEAST         NEW YORK             87.99%     98.40%
                               NORTHERN NEW
  10/23/2020 NORTHEAST         ENGLAND              91.81%     96.35%
                               NORTHERN NEW
  10/23/2020   NORTHEAST       JERSEY               91.89%     90.96%
  10/23/2020   NORTHEAST       TRIBORO              91.07%     95.17%
  10/23/2020   NORTHEAST       WESTCHESTER          89.57%     80.23%
  10/23/2020   PACIFIC         BAY-VALLEY           89.79%     95.62%
  10/23/2020   PACIFIC         HONOLULU             85.70%     86.71%
  10/23/2020   PACIFIC         LOS ANGELES          95.18%     94.76%
  10/23/2020   PACIFIC         SACRAMENTO           91.10%     92.81%
  10/23/2020   PACIFIC         SAN DIEGO            92.40%     93.59%
  10/23/2020   PACIFIC         SAN FRANCISCO        91.79%     97.06%
  10/23/2020   PACIFIC         SANTA ANA            92.85%     97.31%
  10/23/2020   PACIFIC         SIERRA COASTAL       91.33%     97.27%
  10/23/2020   SOUTHERN        ALABAMA              87.68%     73.36%
  10/23/2020   SOUTHERN        ARKANSAS             93.10%     88.25%
  10/23/2020   SOUTHERN        DALLAS               90.57%     90.80%
  10/23/2020   SOUTHERN        FT WORTH             85.33%     79.81%
  10/23/2020   SOUTHERN        GULF ATLANTIC        81.66%     84.34%
  10/23/2020   SOUTHERN        HOUSTON              90.95%     93.16%
  10/23/2020   SOUTHERN        LOUISIANA            91.76%     81.32%
  10/23/2020   SOUTHERN        MISSISSIPPI          88.63%     86.87%
  10/23/2020   SOUTHERN        OKLAHOMA             92.82%     91.14%
  10/23/2020   SOUTHERN        RIO GRANDE           89.60%     73.80%
  10/23/2020   SOUTHERN        SOUTH FLORIDA        86.91%     92.34%
  10/23/2020   SOUTHERN        SUNCOAST             87.98%     84.37%
  10/23/2020   WESTERN         ALASKA               86.08%     94.57%
  10/23/2020   WESTERN         ARIZONA              91.56%     91.21%
  10/23/2020   WESTERN         CENTRAL PLAINS       91.02%     87.74%
  10/23/2020   WESTERN         COLORADO/WYOMIN      84.69%     86.01%
  10/23/2020   WESTERN         DAKOTAS              94.14%     95.15%
  10/23/2020   WESTERN         HAWKEYE              92.20%     95.95%
  10/23/2020   WESTERN         MID-AMERICA          88.99%     85.22%
  10/23/2020   WESTERN         NEVADA SIERRA        92.34%     97.59%
  10/23/2020   WESTERN         NORTHLAND            89.69%     93.40%
  10/23/2020   WESTERN         PORTLAND             87.37%     93.81%
  10/23/2020   WESTERN         SALT LAKE CITY       92.96%     93.90%
  10/23/2020   WESTERN         SEATTLE              88.05%     93.89%
  10/24/2020   Capital Metro   Atlanta              83.93%     71.02%
  10/24/2020   Capital Metro   Baltimore            62.21%     73.94%
  10/24/2020   Capital Metro   Capital              76.25%     94.04%
  10/24/2020   Capital Metro   Greater S Carolina   77.70%     86.72%
  10/24/2020   Capital Metro   Greensboro           77.05%     66.67%
  10/24/2020   Capital Metro   Mid-Carolinas        85.18%     88.26%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 36 of 41


  10/24/2020   Capital Metro   Norther Virginia       83.75%   94.71%
  10/24/2020   Capital Metro   Richmond               82.28%   87.12%
  10/24/2020   Eastern         Appalachian            90.08%   94.79%
  10/24/2020   Eastern         Central Pennsylvania   69.20%   59.03%
  10/24/2020   Eastern         Kentuckiana            89.71%   96.47%
  10/24/2020   Eastern         Norther Ohio           80.89%   74.11%
  10/24/2020   Eastern         Ohio Valley            83.40%   83.62%
  10/24/2020   Eastern         Philadelphia Metropo   57.31%   74.95%
  10/24/2020   Eastern         South Jersey           80.23%   89.84%
  10/24/2020   Eastern         Tennessee              86.42%   89.67%
  10/24/2020   Eastern         Western New York       90.25%   94.05%
  10/24/2020   Eastern         Western Pennsylvania   87.06%   97.74%
  10/24/2020   Great Lakes     Central Illinois       84.58%   85.77%
  10/24/2020   Great Lakes     Chicago                90.55%   89.75%
  10/24/2020   Great Lakes     Detroit                71.65%   84.85%
  10/24/2020   Great Lakes     Gateway                88.19%   92.59%
  10/24/2020   Great Lakes     Greater Indiana        93.11%   94.04%
  10/24/2020   Great Lakes     Greater Michigan       87.43%   92.48%
  10/24/2020   Great Lakes     Lakeland               86.59%   93.34%
  10/24/2020   Northeast       Albany                 88.06%   94.79%
  10/24/2020   Northeast       Caribbean              97.13%   96.11%
  10/24/2020   Northeast       Connecticut Valley     91.26%   94.78%
  10/24/2020   Northeast       Greater Boston         89.56%   86.00%
  10/24/2020   Northeast       Long Island            90.57%   94.14%
  10/24/2020   Northeast       New York               88.92%   97.80%
  10/24/2020   Northeast       Northern New England   90.69%   95.62%
  10/24/2020   Northeast       Northern New Jersey    88.11%   92.37%
  10/24/2020   Northeast       Triboro                92.38%   95.28%
  10/24/2020   Northeast       Westchester            89.15%   84.08%
  10/24/2020   Pacific         Bay-Valley             93.30%   96.78%
  10/24/2020   Pacific         Honolulu               90.95%   85.65%
  10/24/2020   Pacific         Los Angeles            89.85%   95.67%
  10/24/2020   Pacific         Sacramento             94.54%   92.33%
  10/24/2020   Pacific         San Diego              92.49%   96.31%
  10/24/2020   Pacific         San Francisco          94.30%   98.62%
  10/24/2020   Pacific         Santa Ana              92.28%   97.37%
  10/24/2020   Pacific         Sierra Coastal         91.59%   97.12%
  10/24/2020   Southern        Alabama                81.33%   80.49%
  10/24/2020   Southern        Arkansas               89.42%   93.55%
  10/24/2020   Southern        Dallas                 91.42%   94.61%
  10/24/2020   Southern        Ft. Worth              87.41%   87.70%
  10/24/2020   Southern        Gulf Atlantic          80.80%   86.35%
  10/24/2020   Southern        Houston                88.58%   90.07%
  10/24/2020   Southern        Louisiana              91.47%   81.29%
  10/24/2020   Southern        Mississippi            80.13%   89.18%
  10/24/2020   Southern        Oklahoma               93.13%   94.36%
  10/24/2020   Southern        Rio Grande             92.42%   92.19%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 37 of 41


  10/24/2020   Southern        South Florida          84.31%   92.64%
  10/24/2020   Southern        Suncoast               88.59%   80.12%
  10/24/2020   Western         Alaska                 84.43%   92.36%
  10/24/2020   Western         Arizona                89.99%   88.10%
  10/24/2020   Western         Central Plains         86.67%   96.03%
  10/24/2020   Western         Colorado/Wyoming       74.69%   91.99%
  10/24/2020   Western         Dakotas                90.04%   96.34%
  10/24/2020   Western         Hawkeye                88.86%   93.42%
  10/24/2020   Western         Mid-Americas           88.56%   89.78%
  10/24/2020   Western         Nevada Sierra          91.51%   97.06%
  10/24/2020   Western         Northland              81.59%   93.47%
  10/24/2020   Western         Portland               88.24%   92.87%
  10/24/2020   Western         Salt Lake City         92.85%   92.02%
  10/24/2020   Western         Seattle                85.70%   91.45%
  10/26/2020   Capital Metro   Atlanta                87.03%   61.48%
  10/26/2020   Capital Metro   Baltimore              68.34%   66.64%
  10/26/2020   Capital Metro   Capital                82.14%   95.62%
  10/26/2020   Capital Metro   Greater S Carolina     72.57%   87.13%
  10/26/2020   Capital Metro   Greensboro             79.41%   61.15%
  10/26/2020   Capital Metro   Mid-Carolinas          88.17%   77.09%
  10/26/2020   Capital Metro   Norther Virginia       86.86%   95.83%
  10/26/2020   Capital Metro   Richmond               88.88%   90.39%
  10/26/2020   Eastern         Appalachian            86.86%   88.50%
  10/26/2020   Eastern         Central Pennsylvania   74.39%   66.39%
  10/26/2020   Eastern         Kentuckiana            88.79%   95.61%
  10/26/2020   Eastern         Norther Ohio           83.29%   74.23%
  10/26/2020   Eastern         Ohio Valley            87.58%   81.47%
  10/26/2020   Eastern         Philadelphia Metropo   60.83%   56.21%
  10/26/2020   Eastern         South Jersey           81.33%   86.97%
  10/26/2020   Eastern         Tennessee              90.14%   89.18%
  10/26/2020   Eastern         Western New York       89.02%   93.83%
  10/26/2020   Eastern         Western Pennsylvania   91.50%   98.17%
  10/26/2020   Great Lakes     Central Illinois       86.53%   84.16%
  10/26/2020   Great Lakes     Chicago                92.32%   91.55%
  10/26/2020   Great Lakes     Detroit                77.25%   82.02%
  10/26/2020   Great Lakes     Gateway                88.53%   93.54%
  10/26/2020   Great Lakes     Greater Indiana        94.46%   94.65%
  10/26/2020   Great Lakes     Greater Michigan       88.66%   93.77%
  10/26/2020   Great Lakes     Lakeland               90.39%   94.43%
  10/26/2020   Northeast       Albany                 92.25%   93.29%
  10/26/2020   Northeast       Caribbean              95.16%   97.26%
  10/26/2020   Northeast       Connecticut Valley     93.34%   95.90%
  10/26/2020   Northeast       Greater Boston         93.15%   91.99%
  10/26/2020   Northeast       Long Island            89.85%   93.55%
  10/26/2020   Northeast       New York               91.65%   97.14%
  10/26/2020   Northeast       Northern New England   92.03%   95.44%
  10/26/2020   Northeast       Northern New Jersey    92.97%   89.92%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 38 of 41


  10/26/2020   Northeast       Triboro                93.99%   90.43%
  10/26/2020   Northeast       Westchester            90.13%   85.90%
  10/26/2020   Pacific         Bay-Valley             94.44%   97.61%
  10/26/2020   Pacific         Honolulu               92.88%   46.13%
  10/26/2020   Pacific         Los Angeles            93.56%   95.25%
  10/26/2020   Pacific         Sacramento             94.59%   94.04%
  10/26/2020   Pacific         San Diego              94.68%   96.78%
  10/26/2020   Pacific         San Francisco          95.07%   97.58%
  10/26/2020   Pacific         Santa Ana              95.29%   97.26%
  10/26/2020   Pacific         Sierra Coastal         92.95%   97.46%
  10/26/2020   Southern        Alabama                86.45%   81.44%
  10/26/2020   Southern        Arkansas               94.40%   91.11%
  10/26/2020   Southern        Dallas                 92.11%   96.00%
  10/26/2020   Southern        Ft. Worth              89.79%   88.36%
  10/26/2020   Southern        Gulf Atlantic          83.78%   85.37%
  10/26/2020   Southern        Houston                89.91%   95.90%
  10/26/2020   Southern        Louisiana              92.38%   88.90%
  10/26/2020   Southern        Mississippi            82.19%   85.57%
  10/26/2020   Southern        Oklahoma               94.29%   96.17%
  10/26/2020   Southern        Rio Grande             92.50%   90.76%
  10/26/2020   Southern        South Florida          87.83%   92.35%
  10/26/2020   Southern        Suncoast               91.46%   92.22%
  10/26/2020   Western         Alaska                 86.92%   87.03%
  10/26/2020   Western         Arizona                91.93%   87.79%
  10/26/2020   Western         Central Plains         92.99%   93.22%
  10/26/2020   Western         Colorado/Wyoming       74.71%   90.73%
  10/26/2020   Western         Dakotas                92.02%   95.45%
  10/26/2020   Western         Hawkeye                92.25%   93.05%
  10/26/2020   Western         Mid-Americas           90.53%   92.27%
  10/26/2020   Western         Nevada Sierra          92.86%   93.96%
  10/26/2020   Western         Northland              88.16%   92.32%
  10/26/2020   Western         Portland               92.32%   93.92%
  10/26/2020   Western         Salt Lake City         94.07%   93.00%
  10/26/2020   Western         Seattle                91.61%   95.98%
  10/27/2020   Capital Metro   Atlanta                56.91%   76.20%
  10/27/2020   Capital Metro   Baltimore              34.37%   70.82%
  10/27/2020   Capital Metro   Capital                64.03%   94.90%
  10/27/2020   Capital Metro   Greater S Carolina     50.92%   90.54%
  10/27/2020   Capital Metro   Greensboro             53.84%   59.39%
  10/27/2020   Capital Metro   Mid-Carolinas          65.29%   73.34%
  10/27/2020   Capital Metro   Norther Virginia       60.29%   95.97%
  10/27/2020   Capital Metro   Richmond               65.68%   91.42%
  10/27/2020   Eastern         Appalachian            64.47%   92.48%
  10/27/2020   Eastern         Central Pennsylvania   61.08%   62.99%
  10/27/2020   Eastern         Kentuckiana            74.54%   97.23%
  10/27/2020   Eastern         Norther Ohio           50.42%   78.05%
  10/27/2020   Eastern         Ohio Valley            55.51%   87.12%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 39 of 41


  10/27/2020   Eastern       Philadelphia Metropo   36.65%     73.75%
  10/27/2020   Eastern       South Jersey           45.47%     88.91%
  10/27/2020   Eastern       Tennessee              67.02%     91.78%
  10/27/2020   Eastern       Western New York       70.70%     96.77%
  10/27/2020   Eastern       Western Pennsylvania   75.42%     96.89%
  10/27/2020   Great Lakes   Central Illinois       67.31%     89.20%
  10/27/2020   Great Lakes   Chicago                67.18%     94.28%
  10/27/2020   Great Lakes   Detroit                47.81%     76.48%
  10/27/2020   Great Lakes   Gateway                71.61%     91.94%
  10/27/2020   Great Lakes   Greater Indiana        64.81%     95.30%
  10/27/2020   Great Lakes   Greater Michigan       61.61%     86.34%
  10/27/2020   Great Lakes   Lakeland               55.37%     93.78%
  10/27/2020   Northeast     Albany                 76.24%     93.14%
  10/27/2020   Northeast     Caribbean              93.39%     81.59%
  10/27/2020   Northeast     Connecticut Valley     74.03%     93.84%
  10/27/2020   Northeast     Greater Boston         69.32%     93.13%
  10/27/2020   Northeast     Long Island            74.60%     95.96%
  10/27/2020   Northeast     New York               73.38%     97.13%
  10/27/2020   Northeast     Northern New England   74.56%     86.62%
  10/27/2020   Northeast     Northern New Jersey    68.01%     93.54%
  10/27/2020   Northeast     Triboro                83.76%     92.62%
  10/27/2020   Northeast     Westchester            71.43%     93.18%
  10/27/2020   Pacific       Bay-Valley             76.24%     97.35%
  10/27/2020   Pacific       Honolulu               83.54%     88.62%
  10/27/2020   Pacific       Los Angeles            78.45%     96.51%
  10/27/2020   Pacific       Sacramento             73.64%     92.70%
  10/27/2020   Pacific       San Diego              76.71%     96.14%
  10/27/2020   Pacific       San Francisco          75.89%     98.11%
  10/27/2020   Pacific       Santa Ana              62.44%     97.46%
  10/27/2020   Pacific       Sierra Coastal         75.29%     97.61%
  10/27/2020   Southern      Alabama                61.20%     89.10%
  10/27/2020   Southern      Arkansas               76.28%     92.26%
  10/27/2020   Southern      Dallas                 74.45%     93.38%
  10/27/2020   Southern      Ft. Worth              72.69%     92.66%
  10/27/2020   Southern      Gulf Atlantic          57.88%     85.88%
  10/27/2020   Southern      Houston                79.10%     95.43%
  10/27/2020   Southern      Louisiana              68.90%     89.17%
  10/27/2020   Southern      Mississippi            54.87%     86.72%
  10/27/2020   Southern      Oklahoma               80.06%     96.27%
  10/27/2020   Southern      Rio Grande             77.85%     94.92%
  10/27/2020   Southern      South Florida          56.60%     89.59%
  10/27/2020   Southern      Suncoast               63.59%     95.24%
  10/27/2020   Western       Alaska                 70.74%     90.91%
  10/27/2020   Western       Arizona                70.47%     89.90%
  10/27/2020   Western       Central Plains         81.15%     95.81%
  10/27/2020   Western       Colorado/Wyoming       43.85%     86.49%
  10/27/2020   Western       Dakotas                70.78%     93.98%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 40 of 41


  10/27/2020   Western         Hawkeye                70.73%   93.52%
  10/27/2020   Western         Mid-Americas           59.79%   85.72%
  10/27/2020   Western         Nevada Sierra          78.06%   96.26%
  10/27/2020   Western         Northland              58.44%   90.38%
  10/27/2020   Western         Portland               75.90%   87.49%
  10/27/2020   Western         Salt Lake City         70.02%   96.26%
  10/27/2020   Western         Seattle                64.00%   97.09%
  10/28/2020   Capital Metro   Atlanta                81.30%   61.92%
  10/28/2020   Capital Metro   Baltimore              62.45%   84.80%
  10/28/2020   Capital Metro   Capital                83.61%   94.79%
  10/28/2020   Capital Metro   Greater S Carolina     79.15%   78.86%
  10/28/2020   Capital Metro   Greensboro             74.87%   47.75%
  10/28/2020   Capital Metro   Mid-Carolinas          63.36%   64.12%
  10/28/2020   Capital Metro   Norther Virginia       83.79%   95.09%
  10/28/2020   Capital Metro   Richmond               88.92%   88.92%
  10/28/2020   Eastern         Appalachian            83.64%   89.02%
  10/28/2020   Eastern         Central Pennsylvania   65.58%   52.56%
  10/28/2020   Eastern         Kentuckiana            89.84%   94.35%
  10/28/2020   Eastern         Norther Ohio           80.06%   66.02%
  10/28/2020   Eastern         Ohio Valley            82.50%   87.70%
  10/28/2020   Eastern         Philadelphia Metropo   61.57%   63.18%
  10/28/2020   Eastern         South Jersey           81.86%   92.53%
  10/28/2020   Eastern         Tennessee              90.04%   85.43%
  10/28/2020   Eastern         Western New York       92.90%   93.52%
  10/28/2020   Eastern         Western Pennsylvania   88.78%   93.70%
  10/28/2020   Great Lakes     Central Illinois       79.68%   89.33%
  10/28/2020   Great Lakes     Chicago                86.87%   86.88%
  10/28/2020   Great Lakes     Detroit                67.60%   77.00%
  10/28/2020   Great Lakes     Gateway                83.99%   88.47%
  10/28/2020   Great Lakes     Greater Indiana        86.79%   89.52%
  10/28/2020   Great Lakes     Greater Michigan       80.39%   85.30%
  10/28/2020   Great Lakes     Lakeland               82.37%   90.70%
  10/28/2020   Northeast       Albany                 92.07%   94.25%
  10/28/2020   Northeast       Caribbean              96.47%   92.17%
  10/28/2020   Northeast       Connecticut Valley     89.35%   94.23%
  10/28/2020   Northeast       Greater Boston         90.73%   87.61%
  10/28/2020   Northeast       Long Island            86.64%   92.42%
  10/28/2020   Northeast       New York               89.08%   95.14%
  10/28/2020   Northeast       Northern New England   86.50%   91.36%
  10/28/2020   Northeast       Northern New Jersey    86.03%   93.50%
  10/28/2020   Northeast       Triboro                84.43%   94.75%
  10/28/2020   Northeast       Westchester            89.45%   93.56%
  10/28/2020   Pacific         Bay-Valley             93.05%   95.73%
  10/28/2020   Pacific         Honolulu               93.17%   92.75%
  10/28/2020   Pacific         Los Angeles            88.78%   95.61%
  10/28/2020   Pacific         Sacramento             88.87%   90.53%
  10/28/2020   Pacific         San Diego              91.64%   97.55%
Case 1:20-cv-02405-EGS Document 43-2 Filed 10/29/20 Page 41 of 41


  10/28/2020   Pacific       San Francisco        89.31%       96.91%
  10/28/2020   Pacific       Santa Ana            88.94%       95.88%
  10/28/2020   Pacific       Sierra Coastal       91.24%       96.70%
  10/28/2020   Southern      Alabama              91.10%       87.01%
  10/28/2020   Southern      Arkansas             89.69%       93.66%
  10/28/2020   Southern      Dallas               84.06%       92.17%
  10/28/2020   Southern      Ft. Worth            89.38%       94.71%
  10/28/2020   Southern      Gulf Atlantic        81.52%       83.08%
  10/28/2020   Southern      Houston              81.06%       93.56%
  10/28/2020   Southern      Louisiana            92.33%       88.66%
  10/28/2020   Southern      Mississippi          88.01%       76.26%
  10/28/2020   Southern      Oklahoma             92.77%       96.72%
  10/28/2020   Southern      Rio Grande           89.89%       93.88%
  10/28/2020   Southern      South Florida        74.59%       92.76%
  10/28/2020   Southern      Suncoast             87.76%       89.16%
  10/28/2020   Western       Alaska               88.00%       77.49%
  10/28/2020   Western       Arizona              87.79%       92.80%
  10/28/2020   Western       Central Plains       88.45%       90.22%
  10/28/2020   Western       Colorado/Wyoming     65.96%       67.61%
  10/28/2020   Western       Dakotas              89.86%       90.62%
  10/28/2020   Western       Hawkeye              89.49%       89.61%
  10/28/2020   Western       Mid-Americas         86.65%       75.16%
  10/28/2020   Western       Nevada Sierra        90.13%       94.65%
  10/28/2020   Western       Northland            86.43%       86.55%
  10/28/2020   Western       Portland             89.83%       86.40%
  10/28/2020   Western       Salt Lake City       85.34%       95.05%
  10/28/2020   Western       Seattle              88.39%       96.70%
